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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §

§
CAUSE NO.: 1:22-CR-15

vs. §
§ FILED UNDER SEAL
§

ELMER STEWART RHODES, III

SENTENCING MEMORANDUM

COME NOW JAMES LEE BRIGHT, PHILLIP LINDER and EDWARD TARPLEY,
“Counsel” for Elmer Stewart Rhodes, hereinafter “Rhodes”, in the above referenced cause
number and file this Sentencing Memorandum for the Court’s consideration for sentencing.

I.

Counsel received the PSR from the Court assigned Probation Officer, Ms. Crystal Lustig,
hereinafter “PO”, on March 24, 2023. As mentioned in our earlier filed Objections to the PSR,
from all outward appearances it appears as if the Department of Justice itself wrote the “Offense
Conduct” portion of the PSR. It reads very similar to the Opening Statements made by Mr.
Nestler in the Rhodes’ trial. Counsel objected to the majority of the “Offense Conduct”
contained on pages 20 through 33 of the PSR and now files this Memorandum to further
supplement the earlier filed Objections.

II.
SENTENCING POST Blakely and Booker

As this Court is well aware, the law of federal sentencing and the Sentencing Reform Act
of 1984 have been in varying degrees of flux since the Supreme Court decided Blakely v.
Washington, 542 U.S 296 (2004). While it is clear that the Sentencing Guidelines are now
advisory in nature, there have been a handful of notable court decisions directing sentencing

courts on how to proceed.

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In United States v. Booker, 543 U.S. 220 (2005), the court severed and excised two
provisions of the Sentencing Reform Act: the provision requiring a court to impose a sentence
within the Guideline range in the absence of circumstances justifying a departure, 18 U.S.C.
§3553(b)(1); and the provision that sets forth the appellate standard of review, 18 U.S.C.
§3742(e). The new sentencing scheme “requires a sentencing court to consider Guideline
ranges, see 18 U.S.C. §3553(a)(4), but it requires the court to tailor the sentence in light of other
statutory concerns as well, see §3553(a).” Id at 245-246.

SENTENCING POST Rita, Gall and Kimbrough

The Supreme Court’s later decisions in Rita, Gall and Kimbrough have further clarified
the new sentencing scheme. Rita v. United States, 551 U.S. 338 (2007); Gall, 552 U.S. 38, 49-50
(2007); Kimbrough, 552 U.S. 85 (2007). While appellate courts may deem sentences imposed
within the applicable Guidelines range as presumptively reasonable, the sentencing court cannot
employ any such presumption. Rifa, 551 U.S. at 351 (2007), Gall 552 U.S. 38 (2007);
Kimbrough, 552 U.S. 85 (2007). At sentencing, the court must start by accurately calculating the
Guideline range, but then must consider fully the factors set forth in §3553(a) and impose a
sentence sufficient but not greater than necessary to achieve the statutory objectives of
sentencing. Rita, 551 U.S. at 347; Gall, 552 U.S. at 49-50. So, although the sentencing court
must consider the Guidelines, it has the authority to vary from the Guidelines for policy reasons,
particularly where the Sentencing Commission did not rely on empirical practices or data before
deciding on a particular offense level. Kimbrough, 552 U.S. 85, 109-111 (2007).

After Gall, it is now clear that sentencing courts should employ a three-step approach to
determining the appropriate sentence in a particular case. First, apply the Guidelines to

determine the advisory sentencing range; second, determine if a traditional Guideline departure

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applies; and third, determine if a non-Guideline sentence, often called a “variance,” is
appropriate based on consideration of the §3553(a) factors. See Gall v. United States, 552 U.S.
38, 50-51 (2007); Rita vs. United States, 551 U.S. 338 352-54 (2007); see, e.g., United States v.
Crosby, 397 F.3d 103, 112-13 (2d Cir. 2005).

The sentencing court must consider all of the factors set forth in 18 U.S.C. §3553(a), make an
individualized assessment based on the facts presented (Gall, 552 U.S. at 50), and “impose a
sentence sufficient but not greater than necessary to accomplish the goals of sentencing.”
Kimbrough v. United States, 552 U.S. 85, 101 (quoting 18 U.S.C. §3553(a)). In determining the
sentence, the court cannot “presume that the Guidelines range is reasonable.” Gall, 552 U.S. at
50. Finally, the district court “must adequately explain the chosen sentence to allow for
meaningful appellate review and to promote the perception of fair sentencing” Jd.

Il.

Therefore, as it stands today, under U.S.S.G. §1B1.1, this Court cannot simply sentence
Rhodes to the 135-168 months of imprisonment suggested by the PO in paragraph 195 on page
41 of the PSR without first considering all of the Specific Offender Characteristics listed in
U.S.S.G §5H1.1-§5H1.12, potential Departures listed in U.S.S.G §5K1 and §5K2, other relevant
sentencing factors contained in 28 U.S.C. §994 and then considering all of the potential
adjustments for things such Acceptance of Responsibility contained in U.S.S.G §3E1., etc. and
then any potential variances listed under 18 U.S.C. §3553(a) to craft a sentence that is sufficient
but not greater than necessary to achieve the statutory objectives of sentencing.

IV.

LAW REGARDING DEPARTURES & ADJUSTMENTS

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U.S.S.G §5H1.1-§5H1.12 and 28 U.S.C. §994(c) and(d) list many specific reasons the
court can depart downward on behalf of a defendant. U.S.S.G §5K2 and 18 U.S.C. §3553(b)
provide the court a catchall reason to depart if some circumstance or set of circumstances present
in a particular case were not specifically addressed in the enumerated lists contained in U.S.S.G
§5H1.1-§5H1.12, 28 U.S.C. §994(d) and other provisions of the United States Sentencing
Guidelines.

The specific reasons for departure listed in U.S.S.G §5H1.1-§5H1.12 and 28 U.S.C.
§994(d) include a myriad of things the Court can consider for departures and things the Court
should generally not consider for a departure as well as six things that are forbidden for the Court
to take into consideration at sentencing: those being Race, Sex, National Origin, Creed, Religion
and Socio-Economic Status. U.S.S.G. §5H1.10.

V.

DEPARTURES & ADJUSTMENTS RELEVANT TO STEWART RHODES

Before this court can address the proper issues for variances contained in 18 U.S.C.
§3553(a), it must first make sure it arrives at a proper guideline level by considering if there are
any appropriate departures and/or adjustments that pertain specifically to Rhodes. As contained
in Rhodes’ PSR, there are no listed Downward Departures and there is no adjustment for
Acceptance of Responsibility.

Counsel for Rhodes would ask this Court to look at U.S.S.G. §5H1.11 as a potential
Departure or Adjustment because significant amounts of testimony and evidence adduced at trial
corroborated Rhodes’ military service combined with his 13 years as the founder and leader of
the Oath Keepers and as such, his history of disaster relief efforts and his voluntary security for

speakers and the public at large at sometimes violent venues such as Berkeley, Dallas, Ferguson,

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D.C., etc. This provision applies to Rhodes because his actions over 13 years go “above and
beyond” what is customarily considered “community good works”. U.S. v. Canova, 412 F.3™4
331 (2d CIR. 2005) and U.S. v Huber, 462 F.3d 945 (8" Cir. 2006). This Court is able to depart
downward for any one or more of the reasons listed under U.S.S.G §5H1.1-§5H1.12 and Title 28
USC §994(d) even absent any motion from the government. U.S. v Robinson, 741 F. 3 588 (5"
Cir. 2014).

In addition, as discussed and more thoroughly briefed in Counsel’s Objections to the
PSR, Rhodes should be given a 2-level departure for Acceptance of Responsibility.

Finally, U.S.S.G §5K2, which interprets Title 18 U.S.C. §3553(b), this Court may impose
a sentence below the range established by the applicable guidelines if the court finds (1) there
exists a mitigating circumstance or circumstances of any kind that have not been taken into
consideration by the Sentencing Commission in formulating the Guidelines, or (2) to a degree
that has been affirmatively and specifically identified as a permissible ground for a downward
departure under the guidelines or policy statements issued under 28 U.S.C. §994(d) and U.S.S.G
§5H1.1-§5H1.12 AND (3) should result in a sentence different than that described.

Therefore, with regards to Rhodes, this Court is allowed to depart downward even absent
the request by the government. It therefore stands to reason that this Court can depart downward
as many levels as it so chooses to craft a sentence that is sufficient but not greater than necessary
to accomplish the goals of sentencing.

The above listed factors are all things that this Court can take into consideration when
crafting a more appropriate sentence for Rhodes than the 135-168 months suggested by the PO in

her PSR. As provided in Kimbrough, 552 U.S. at 101-102, “a district court’s job is not to

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impose a reasonable sentence but to impose a sentence that is sufficient but not greater than

necessary to accomplish the purposes set forth in 18 U.S.C §3553 fa)”.

VI.
LAW REGARDING VARIANCES

As mentioned earlier in the cited Rita opinion and contained in the application
instructions of U.S.S.G §1B1.1, before the court can simply sentence someone to a guideline
sentence, it must follow a multistep process to first arrive at a base offense level, then consider
any applicable downward departures and adjustments that may affect the offense level, then must
consider fully the factors set forth in Title 18 U.S.C. §3553(a) to craft a sentence sufficient but
not greater than necessary to achieve the statutory objectives of sentencing. Section
3553(a)(4)(A)(i) directs the sentencing court to also consider the commentary included in Title
28 U.S.C. § 994(a)(2) which lists several factors for the court to consider in sentencing. As

provided in Kimbrough, 552 U.S. at 101-102, “a district_court’s job is not_to impose a

reasonable sentence but to impose a sentence that is sufficient but not greater than necessary to
accomplish the purposes set forth in 18 U.S.C §3553(a)”.

Since Gall and Kimbrough, the clear trend is for sentencing courts to take the position

that there are no per se illegitimate grounds to consider in imposing a sentence below the
guideline range. United States vs. Cavera, 550 F3rd 180, 194 (2nd Cir. 2008)(en banc).

While the Federal Sentencing Guidelines remain in place, there are now seven sentencing
factors specifically set forth in 18 U.S.C. §3553(a) that the court must consider in crafting the
appropriate sentence. However, these can only be considered once the court has determined any
applicable departures. Title 18 U.S.C. §3553(a) provides that in determining the applicable

sentence, the court shall consider:

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(1) the nature and circumstances of the offense and the history and characteristics of the

defendant [§3553(a)(1)]

(2) the need for the sentence imposed-

(A)to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense [§3553(a)(2)(A)];
(B) to afford adequate deterrence to criminal conduct [§3553(a)(2)(B)];
(C) to protect the public from further crimes of the defendant [§3553(a)(2)(C)]; and
(D)to provide the defendant with needed educational or vocational training, medical
care, or other correctional treatment in the most effective manner
[§3553(a)(2)(D)];
(3) the kinds of sentences available [§3553(a)(3)]
(4) the kinds of sentence and the sentencing range established in the Federal Sentencing
Guidelines [§3553(a)(4)(A-B)]

(5) any pertinent policy statement issued by the Sentencing Commission [§3553(a)(5)]

(6) the need to avoid unwarranted sentence disparity [§3553(a)(6)]

(7) the need to provide restitution to any victims [§3553(a)(7)]

Therefore, as discussed above, this Court must not simply choose to sentence Rhodes to
the suggested guideline sentence of 135-168 months of imprisonment, as recommended by the
PO and the government in this case, but must consider other factors to craft a sentence which is
more appropriate, either by way of a downward departure, a variance, or both.

VARIANCES RELEVANT TO STEWART RHODES
In addition to the possible downward departures discussed above, this Court can also

depart downward by way of a variance to satisfy the needed requirements of Title 18 U.S.C

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§3553(a). As mentioned earlier in this memorandum and cited in the Rita, Gall and Kimbrough
decisions, after the sentencing court determines the starting guideline range and then applies any
needed downward departures, the court must then look to section 3553(a) to determine if the
sentence correctly considers the seven factors listed. If the suggested guideline sentence does
not accurately account for the seven listed factors, then the sentencing court can adjust the
sentence as needed.

In its analysis of factors to be considered in imposing a sentence under 3553(a), the Court
must start by considering the first of the seven, “the nature and circumstances of the offense and
the history and characteristics of the defendant.” Counsel for Mr. Rhodes would urge the Court
to take into consideration several important issues for the imposition of a sentence under this
section. Initially, Mr. Rhodes is an honorably discharged veteran of the United States Army. He
volunteered in June of 1983 and completed airborne school, as well as the initial phase of special
forces’ qualification course. Mr. Rhodes chose as a specialty rough terrain parachuting and, as a
result of this choice, suffered a compression fracture in his spine while attempting a low altitude
jump during a night mission jump in 1986. Mr. Rhodes underwent surgery at Fort Lewis,
Washington during which two steel rods were placed in his spine, and he was in a body cast for
several months. As a result of this injury, Mr. Rhodes was not able to continue his chosen career
in the military and was declared fifty-percent service-connected disabled for life.

After being honorably discharged from the United States Army, Mr. Rhodes began his
formal education, resulting in a Bachelor of Arts degree in Political Science from the University
of Nevada Las Vegas. While at UNLV, he was a straight-A student and ultimately graduated
summa cum laude. After graduation, he attended Yale Law School and earned his Juris Doctor

in the Spring of 2004. While at Yale, Mr. Rhodes was awarded the Judge William E. Miller

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prize for the most outstanding paper concerning the Bill of Rights, “Solving the Puzzle of
‘Enemy Combatant’ Status”. After graduation from Yale, Mr. Rhodes clerked for Justice
Michael D. Ryan of the Nevada Supreme Court and then worked for several years at O’Neill &
Bagley in Polson, Montana focusing on appellate cases and brief writing.

Perhaps one of the most important factors before the Court to consider regarding the
“history and characteristics of the defendant” [§3553(a)(1)] is Mr. Rhodes’ founding and
establishment of an entirely volunteer organization named the Oath Keepers. If the history and
character of a man is to be judged by what he creates and how that organization functions within
and for the benefit of society, then it is imperative that the Court give great deference to Mr.
Rhodes for the 12 years of service and dedication of the Oath Keepers, as evinced through the
organizations’ history of community involvement and volunteerism in times of natural disasters
and civil unrest, in the determination and imposition of the sentence in this case. It should be
stated that the perception cultivated and amplified by some mainstream media outlets, politicians
and activists portraying the Oath Keepers as a “right-wing extremist” group is simply not borne
out by facts. Assisting fellow citizens in times of natural disasters, protecting them when under
siege from rioters and upholding the United States Constitution are not “extreme” ideals, they are
American ideals.

On April 19, 2009, partially as a result to the Federal Government’s response to
Hurricane Katrina, Stewart Rhodes founded the Oath Keepers at Lexington, Massachusetts. The
name of the organization is derived from the very oath that law enforcement and members of the
military take to “Support and defend the Constitution against all enemies, foreign and domestic.”
Per § 8.05 of the Oath Keeper By Laws, “Our Mission: Oath Keepers is a non-partisan

association of currently serving military, reserves, National Guard, veterans, Peace Officers, and

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Fire Fighters who will fulfill the Oath we swore, with the support of like minded citizens who
take an Oath to stand with us, to support and defend the Constitution against all enemies, foreign
and domestic, so help us God. Our Oath is to the Constitution.” As a man proud of his own
Hispanic heritage, Mr. Rhodes attempted to create and build an association that was diverse, one
that refused to tolerate racism or those who were willing to associate with others who tolerated or
promoted racism. As is detailed in the By Laws, § 8.02 (b) Restrictions on Membership “No
person who advocates, or has been or is a member, or associated with, any organization, formal
or informal, that advocates discrimination, violence, or hatred toward any person based upon
their race, nationality, creed, or color, shall be entitled to be a member or associate member.”
Once again, public perception and facts are greatly divergent from who the members of
the Oath Keepers are as individuals and as an organization. It can be easily surmised that labels
such as “white nationalist” and “racist” were falsely attributed to the Oath Keepers in an attempt
to further political narratives, however, the facts easily prove that those narratives are baseless.
In addition to the Oath Keepers own bylaws, which directly contradict these false labels, the
makeup of the membership itself shows the narratives are incorrect as well. As this Court is
aware, the Vice-President of the entire Oath Keepers organization was an African-American, as
was Michael Greene, a.k.a. Whip, a close friend and colleague of the Oath Keepers who helped
the organization oversee multiple operations across the country over the span of many years. In
addition to those who filled leadership roles and partnerships with the Oath Keepers, many of its
members were minorities, including one of the members on trial with Mr. Rhodes, Jessica
Watkins, is transgender. The diverse leadership and membership of the Oath Keepers show that

the organization was an inclusive group that reflects the character of the man who founded the

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organization, a group not united by common race or religion or gender, but one united in
devotion to the United States Constitution and in service to its fellow citizens.

Much as the character of those within the Oath Keepers has been misconstrued and
mischaracterized by others, so too has their history and actions. The organization from its
inception was dedicated to philanthropy, aiding others in times of both civil unrest as well as
natural disasters, community preparedness and legal education. Those efforts are the natural
result of the underlying character and principles of its founder and is reflective of his intent for
those principles to be one of the foundations of the Oath Keepers organization.

In August of 2017, the Oath Keepers brought together members from all over the United
States to participate in humanitarian and security efforts in Texas in response to Hurricane
Harvey. Based in Mauriceville, Texas, members of the Oath Keepers provided security for the
local Fire Department, helped provide convoys of goods and medical supplies to surrounding
areas that had been flooded by the hurricane and filled in the gaps FEMA and the National Guard
had trouble accessing safely. The Oath Keepers also helped to perform wellness checks on
stranded citizens. Mr. Rhodes himself was personally greeted and thanked by the African
American Mayor of Houston, Sylvester Turner, for all of the assistance and service provided by
the Oath Keepers. This type of civic service to others was again on display after another natural
disaster, this time in Puerto Rico. Spearheaded by Mr. Rhodes, the Oath Keepers spent more
than three weeks escorting teams of nurses in the distribution of medical aid, performance of
wellness checks as well as hurricane clean up.

Not unlike during times of natural disaster, so too were the Oath Keepers on the front line
of assistance and protection of others during times of civil unrest. Mr. Rhodes tasked his

members with providing security details and services during the unrest in Ferguson, Missouri

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and Louisville, Kentucky. The Oath Keepers were asked by local residents, to provide protection
for a black-owned bakery as well as other businesses, some minority owned, from violent mobs
during the riots in Ferguson, Missouri following the death of Michael Brown. Oath Keepers,
likewise, provided the same protection for businesses in Louisville, Kentucky during the riots
following the death of Breonna Taylor, being invited by the owner of a Cuban-American
restaurant to protect his and other businesses as they were under siege. During these last two
events, the Oath Keepers remained calm and on-point to provide the protection for which they
were tapped and did not lose focus or give in to the threats and aggressive behavior of the rioters.
During the 2020 calendar year, the Oath Keepers, and specifically Mr. Rhodes, provided
hundreds of personal security details at campaign and political events throughout the country as
rioters attacked attendees.

While not practical, and to preserve brevity, there are many more instances of the Oath
Keepers providing these types of assistance across the entire nation that will not be enumerated
here, however, the civic and protective actions of the Oath Keepers are well-documented. In
fact, the historically lawful actions of the Oath Keepers were detailed in trial by the testimony of
SA Palian. Upon cross examination by Mr. Linder, SA Palian conceded that in the previous
twelve years there had not been a single prosecution from their various personal security details
or mission during these times of civil unrest or natural disasters. In its totality, the facts show
that the Oath Keepers were dedicated to civic service during calamitous events, be they natural
disasters or dangerous and violent riots, and that race, creed, gender or religion played no part in
its belief structure or in determining who would or would not be the beneficiary of its valuable

time and service. The Oath Keepers aided all Americans.

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The character of the Oath Keepers reflects the character of the man who created it. With
an unshakeable belief in the United States Constitution, both the man and the organization not
only championed the idea of freedom and all that it entails, but they put those beliefs into action,
responding when called to provide aid to those in need and protection to those in danger. If a
person is judged by their character, that character is proven by their actions, and if one is honest,
the character of Mr. Rhodes is easily settled upon. From its inception, Mr. Rhodes gave his life
to the Oath Keepers. Certainly, this Court too should consider this in the totality of “the history
and characteristics of the defendant.”

In the Court’s ongoing analysis of the factors in determining the appropriate sentence, it
seems exceptionally difficult to properly address the first part of 3553(a)(2), “nature and
circumstances of the offense”, considering that the defendant has continually asserted his
innocence and challenged the assertions and indictments of the government for nearly a year and
a half. How does one address the “nature and circumstances of the offense” when the very
offense in question is based on a law that was inappropriately charged, indicted and prosecuted?

As asserted directly by Mr. Rhodes via this Sentencing Memorandum, everything he
wrote or said in his Open Letters to President Trump, to the American people, in the Oath
Keeper chats and meetings, in multiple Calls to Actions and other various statements was
protected political speech pursuant to the standards set by United States Supreme Court in
Brandenburg v. Ohio 395 U.S. 444 (1969). None of his protected speech incited or encouraged
imminent violent or unlawful acts, nor were any likely to occur as a result of his speech. In
particular, nothing Mr. Rhodes wrote or published concerned the direct prevention of the transfer
of power between then President Trump and President-elect Biden. To the contrary, Mr. Rhodes

was focused at that time on getting President Trump to use his power and authority while still in

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office. (See his Open Letters to President Trump on January 14 and 16") In part, Mr. Rhodes
stated, “Prepare to walk the same path as the Founding Fathers of condemnation of an
illegitimate regime, nullification/mass non-compliance, defiance, mutual defense, and
resistance.” The context of this was always in regard to after January 20", 2021, when the
transfer of power to President Biden had legally been passed. Like so often in this prosecution,
here too the full context of his words have been overlooked and ignored. On January 14, 2021,
Rhodes published a letter to the Oath Keepers nationwide. This email was entitled “RED
ALERT! OATH KEEPERS WARNING PART 1”. Highlighted in this publication, like so
many times before, as the Government is fully aware, Mr. Rhodes clearly states in bold letters
“As always, we are not calling for the initiation of violence.”

The third and fourth factors of Title 18 U.S.C §3553(a)(3) and (4) relate to the need for
the court to consider the kinds of sentences available and the kinds of sentences established
under the Federal Sentencing Guidelines. As per paragraphs 193 through 206 of the PSR, since
the offenses of Rhodes’ convictions are Class C Felonies, probation is even authorized per
statute. The only prohibition from the Court granting Rhodes probation is the Guideline Range
that the PO has incorrectly placed on Rhodes. It is the suggested sentencing guideline range in
this case that restricts this Court’s ability to impose a more appropriate sentence than that being
recommended by the PO. However, if this Court were to depart or vary downward enough then
this Court would have significantly more discretion in the type of sentence it could assess against
Rhodes.

The fifth factor listed under section 3553(a)(5) asks the court to consider any pertinent
policy statements issued by the Sentencing Commission. Since the Sentencing Guidelines have

been made advisory rather than mandatory, the Sentencing Commission’s goal has been to have

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the sentencing courts look at the individual characteristics of each individual defendant and
specific case and promote fair and individualized sentencing as to each defendant.

The sixth factor the sentencing court must consider under section 3553(a)(6) is the need
to avoid unwarranted sentencing disparity. There are numerous other co-defendants in this case
as well as thousands of other related defendants. Approximately 450 sentences have been handed
down so far on J6 related cases. See attached Exhibit A and B. Therefore, this Court must look
at and consider the other co-defendant’s sentences as a comparison. At present, at least 450
other related defendants have been sentenced with the largest sentence being 120 months with
numerous sentences being less than 5 years. See Exhibit A and B.

The seventh factor for the sentencing court to consider under section 3553(a) is the need
for the defendant to provide any restitution to the victims. This was addressed by the probation
officer in paragraph 117 on page 30 of the PSR. However, Rhodes would object to his need to
pay restitution as the evidence at trial showed that he was not responsible for the crowd that
breached the Capitol and caused any of the damage.

VIII.
CONCLUSION

Under the procedure described in the line of cases and code provisions cited above,
Counsel for Rhodes would ask this Court to consider any downward departures, adjustments or
variances that it deems applicable to Rhode, then craft a sentence that fully complies with all of

the sentencing factors listed under USSG 3553(a) which is required to be sufficient but not

greater than necessary to achieve the statutory objectives of sentencing.

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WHEREFORE, Counsel for Rhodes would therefore ask this court to sentence Rhodes to

a sentence of “time served”, which is substantially less than the suggested sentence by the PO in

her PSR.

RESPECTFULLY SUBMITTED,

/S/ PHILLIP A. LINDER
PHILLIP A. LINDER

3300 OAK LAWN AVENUE, SUITE 700
DALLAS, TEXAS 75219

(214) 252- 9900 OFFICE

(214) 252-9902 FAX
PHILLIP@THELINDERFIRM.COM
TEXAS BAR NO. 12363560

/s/ JAMES LEE BRIGHT
JAMES LEE BRIGHT

3300 OAK LAWN AVENUE, SUITE 700
DALLAS, TEXAS 75219

TEL: (214) 720-7777

FAX: (214) 720-7778
JLBRIGHTLAW@GMAIL.COM

TEXAS BAR No: 24001786

/S/ EDWARD L. TARPLEY, JR
EDWARD L. TARPLEY, JR

819 JOHNSON STREET
ALEXANDRIA, LOUISIANA 71301
(318) 487-1460
EDWARDTARPLEY@ATT.NET
LA. BAR No: 12657

ATTORNEYS FOR DEFENDANT

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SENTENCES HANDED DOWN ON J6 RELATED CASES
UP UNTIL APRIL 7, 2023

TYPE OF SENTENCE # OF DEFENDANTS
No JAIL TIME
HOME CONFINEMENT 68
PROBATION 130
JAIL
0-30 DAYS 84
31-60 DAYS 47
61 DAYS <6 MONTHS 30
6 MONTHS < | YEAR 16
1 YEAR <2 YEARS 16
2 YEARS <3 YEARS 10
3 YEARS < 4 YEARS 23
4 YEARS <5 YEARS 12
5 YEARS < 6 YEARS 7
6 YEARS <7 YEARS 2
7 YEARS < 8 YEARS 4
8 YEARS <9 YEARS 0
9 YEARS < 10 YEARS 0
10 YEARS + ]

EXHIBIT
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Table 1: Cases in which the government recommended a probation sentence without home detention!

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Defendant
Name

Case Number

Offense of Conviction

Government Recommendation

Sentence Imposed

Morgan-Lloyd,
Anna

1:21-CR-00164-RCL

40 U.S.C. § 5104(e)(2\(G)

36 months’ probation
40 hours’ community service
$500 restitution

36 months’ probation
120 hours’ community service
$500 restitution

Ehrke, Valerie

1:21-CR-00097-PLF

40 U.S.C. § 5104(e)(2)(G)

36 months’ probation
40 hours’ community service
$500 restitution

36 months’ probation
120 hours’ community service
$500 restitution

Bissey, Donna

1:21-CR-00165-TSC

40 U.S.C. § 5104(e)(2(G)

36 months’ probation
40 hours’ community service
$500 restitution

14 days’ incarceration
60 hours’ community service
$500 restitution

Hiles, Jacob 1:21-CR-00155-ABJ | 40 U.S.C. § 5104(e)(2)(G) | 36 months’ probation 24 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Wangler, 1:21-CR-00365-DLF | 40 U.S.C. § 5104(e)(2)(G) | 36 months’ probation 24 months’ probation
Douglas 40 hours’ community service 60 hours’ community service

$500 restitution

$500 restitution

Harrison, Bruce

1:21-CR-00365-DLF

40 U.S.C. § 5104(e(2\(G)

48 months’ probation
40 hours’ community service

24 months’ probation
60 hours’ of community service

$500 restitution $500 restitution
Sizer, Brian 1:22-CR-00376-JEB | 40 U.S.C. § 5104(e}(2)(D), | 36 months’ probation
(e)(2)(G) $500 restitution

LIGIHX3

' Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend
probation in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue
Bissey, 1:21-cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The
government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf United States v. Rosales-Gonzales, 801 F.3d 1177, 1183
(9th Cir. 2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those
who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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Table 2: Cases in which the government recommended a probation sentence with home detention

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Defendant
Name

Case Number

Offense of Conviction

Government Recommendation

Sentence Imposed

Bustle, Jessica

1:21-CR-00238-TFH

40 U.S.C. § 5104(e)\(2)(G)

3 months’ home detention
36 months’ probation

40 hours’ community service
$500 restitution

60 days’ home detention

24 months’ probation

40 hours’ community service
$500 restitution

Bustle, Joshua

1:21-CR-00238-TFH

40 U.S.C. § 5104(e)(2)(G)

30 days’ home detention
36 months’ probation
40 hours’ community service

30 days’ home detention
24 months’ probation
40 hours’ community service

$500 restitution $500 restitution
Doyle, Danielle | 1:21-CR-00324-TNM | 40 U.S.C. § 5104(e)(2)(G) | 2 months’ home detention 60 days’ probation
36 months’ probation $3,000 fine
60 hours’ community service $500 restitution
$500 restitution
Bennett, 1:21-CR-00227-JEB | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 3 months’ home detention
Andrew 36 months’ probation 24 months’ probation
60 hours’ community service 80 hours’ community service
$500 restitution $500 restitution
Mazzocco, 1:21-CR-00054-TSC | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 45 days’ incarceration
Matthew 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Rosa, Eliel 1:21-CR-00068-TNM | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ home detention 12 months’ probation

36 months’ probation
60 hours’ community service
$500 restitution

100 hours’ community service
$500 restitution

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Gallagher,
Thomas

1:21-CR-00041-CJN

40 U.S.C. § 5104(e)(2)(G)

30 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Vinson, Thomas

1:21-CR-00355-
RBW

40 U.S.C. § 5104(e)(2)(G)

3 months’ home detention

3 years’ probation

60 hours’ community service
$500 restitution

5 years’ probation

$5,000 fine

120 hours’ community service
$500 restitution

Dillon, Brittiany

1:21-CR-00360-DLF

40 U.S.C. § 5104(e)(2)(D)

3 months’ home detention
36 months’ probation

60 hours’ community service
$500 restitution

60 days’ home detention
36 months’ probation
$500 restitution

Sanders, 1:21-CR-00384-CJN | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 36 months’ probation
Jonathan 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Fitchett, Cindy 1:21-CR-00041-CJN | 40 U.S.C. § 5104(e}(2)(G) | 60 days’ home detention 30 days’ home detention

36 months’ probation
60 hours’ community service
$500 restitution

36 months’ probation
60 hours’ community service
$500 restitution

Sweet, Douglas

1:21-CR-0004 1-CJN

40 U.S.C. § 5104(e)(2)(G)

3 months’ home detention
36 months’ probation
60 hours’ community service

30 days’ home detention
36 months’ probation
60 hours’ community service

$500 restitution $500 restitution
Cordon, Sean 1:21-CR-00269-TNM | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 60 days’ probation

36 months’ probation $4000 fine

60 hours’ community service $500 restitution

$500 restitution

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Wilkerson, John
IV

1:21-CR-00302-CRC

40 U.S.C. § 5104(e)(2)(G)

60 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

36 months’ probation

$2500 fine

60 hours’ community service
$500 restitution

Jones, Caleb

1:21-CR-00321-JEB

40 U.S.C. § 5104(e)(2)(G)

3 months’ home detention
36 months’ probation

60 hours’ community service
$500 restitution

60 days’ home detention

24 months’ probation

100 hours’ community service
$500 restitution

Brown, Terry 1:21-CR-00041-CJN 40 U.S.C. § 5104(e)(2)(G) | 45 days’ home detention 30 days’ home detention
36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Wrigley, 1:21-CR-00042-ABJ 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 18 months’ probation
Andrew 36 months’ probation $2000 fine
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution

Parks, Jennifer

1:21-CR-00363-CJN

40 U.S.C. § 5104(e)(2)(G)

30 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Reimler, 1:21-CR-00239-RDM | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 30 days’ home detention

Nicholas 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution

Miller, Brandon | 1:21-CR-00266-TSC | 40 U.S.C. § 5104¢e)(2)(G) | 3 months’ home detention 20 days’ incarceration
36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution

$500 restitution

Miller, 1:21-CR-00266-TSC 40 U.S.C. § 5104(e}(2})(G) | 60 days’ home detention 14 days’ incarceration

Stephanie 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution

Hatley, Andrew | 1:21-CR-00098-TFH | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 36 months’ probation

36 months’ probation
60 hours’ community service
$500 restitution

$500 restitution

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Pert, Rachael

1:21-CR-00139-TNM

USS. § 1752(a)(1)

3 months’ home detention
24 months’ probation

40 hours’ community service
$500 restitution

24 months’ probation
100 hours’ community service
$500 restitution

Winn, Dana 1:21-CR-00139-TNM | 18 U.S.C. § 1752(a}(1) 3 months’ home detention 10 days’ incarceration
24 months’ probation 12 months’ probation
40 hours’ community service 100 hours’ community service
$500 restitution $500 restitution
Wickersham, 1:21-CR-00606-RCL | 40 U.S.C. § 5104(e}(2)(G) | 4 months’ home detention 3 months’ home detention
Gary 36 months’ probation 36 months’ probation
60 hours’ community service $2000 fine
$500 restitution $500 restitution
Schwemmer, 1:21-CR-00364-DLF | 40 U.S.C. § 5104(e}(2)(G) | 30 days’ home detention 24 months’ probation
Esther 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Kelly, Kenneth | 1:21-CR-00331-CKK | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 60 days’ home detention

36 months’ probation
60 hours’ community service
$500 restitution

12 months’ probation
$500 restitution

Straka, Brandon

1:21-cr-00579-DLF

40 U.S.C. § 5104(e)(2)(D)

4 months’ home detention
36 months’ probation

3 months’ home detention
36 months’ probation

60 hours’ community service $5000 fine
$500 restitution 60 hours’ community service
$500 restitution
Sizer, Julia 1:21-CR-00621-CRC | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 12 months’ probation
36 months’ probation $2,000 fine
60 hours’ community service $500 restitution
$500 restitution
Blauser, 1:21-CR-00386-TNM | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention $500 fine
William 36 months’ probation $500 restitution

60 hours’ community service
$500 restitution

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60 hours’ community service
$500 restitution

Barnard, 1:21-CR-00235-RC 40 U.S.C. § 5104(e)(2)(G) | 30 days’ home detention 30 days’ home detention
Richard 36 months’ probation 12 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
' Witcher, Jeffrey | 1:21-CR-00235-RC 18 U.S.C. § 1752(a)(1) 60 days’ home detention 12 months’ probation
36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
McAlanis, 1:21-CR-00516-DLF | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 24 months’ probation
Edward 36 months’ probation 60 hours’ community service

$500 restitution

Lollis, James

1:21-CR-0067 I-BAH.

40 U.S.C. § 5104(e(2)(G)

3 months’ home detention
36 months’ probation
100 hours’ community service

3 months’ home detention
36 months’ probation
100 hours’ community service

$500 restitution $500 restitution
Schubert, Amy 1:21-CR-00588-ABJ 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 18 months’ probation
36 months’ probation $2000 fine
60 hours’ community service 100 hours’ community service
$500 restitution $500 restitution
Schubert, John 1:21-CR-00587-ABJ 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 18 months’ probation
36 months’ probation $1500 fine
60 hours’ community service 100 hours’ community service
$500 restitution $500 restitution
Orangias, 1:21-CR-00265-CKK | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 3 months’ home detention
Michael 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Quick, Michael | 1:21-CR-00201-DLF | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 36 months’ probation
36 months’ probation $1000 fine
$500 restitution 60 hours’ community service
$500 restitution
Quick, Stephen | 1:21-CR-00201-DLF | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 24 months’ probation

36 months’ probation
$500 restitution

$1000 fine
60 hours’ community service
$500 restitution

Reda, Kenneth

1:21-CR-00452-TFH

40 U.S.C. § 5104(e)(2)(G)

60 days’ home detention

60 days’ home detention

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36 months’ probation
60 hours’ community service
$500 restitution

36 months’ probation
60 hours’ community service
$500 restitution

McCreary, 1:21-CR-00125-BAH | 18 U.S.C. § 1752(a)(1) 3 months’ home detention 42 days’ intermittent incarceration
Brian 36 months’ probation 60 days’ home detention
60 hours’ community service 36 months’ probation
$500 restitution $2,500 fine
$500 restitution
Colbath, Paul 1:21-CR-00650-RDM_ | 40 U.S.C. § 5104(e)(2)(G) | 3 months’ home detention 30 days’ home detention

36 months’ probation
60 hours’ community service

36 months’ probation
60 hours’ community service

$500 restitution $500 restitution
Lewis, Jacob 1:21-CR-00100-CRC | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 24 months’ probation
36 months’ probation $3000 fine

60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Lentz, Nicholes

1:22-CR-00053-RDM

18 U.S.C. § 1752(a\(1)

60 days’ home detention
36 months’ probation

30 days’ home detention

36 months’ probation

100 hours’ community service
$500 restitution

60 days’ home detention

Daughtry, 1:21-CR00141-RDM 18 U.S.C. § 1752(a)(1) 4 months’ home detention

Michael 36 months’ probation 36 months’ probation
$500 restitution $500 restitution

Juran, John 1:21-CR-00419-TFH | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ home detention 60 days’ home detention

36 months’ probation
60 hours’ community service
$500 restitution

36 months’ probation
$500 fine
$500 restitution

Genco, Raechel

1:22-CR-00062-JMC

40 U.S.C. § 5104(e)(2)(G)

30 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

12 months’ probation
60 hours’ community service
$500 restitution

Macrae,
Douglas
Farquhar

1:22-CR-00181-JEB

40 U.S.C. § 5104(e)(2)(G)

4 months’ home detention
36 months’ probation

60 hours’ community service
$500 restitution

12 months’ probation
150 hours’ community service
$500 restitution

Seymour, Paul

1:22-CR-00041-APM

40 U.S.C. § 5104(e)(2)(G)

3 months’ home detention

12 months’ probation

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SR.

36 months’ probation
60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Seymour, Paul
Jr.

1:22-CR-0004 1-APM

40 U.S.C. § 5104(e)(2(G)

3 months’ home detention
36 months’ probation

60 hours’ community service
$500 restitution

12 months’ probation
60 hours’ community service
$500 restitution

Ferguson, Jamie

1:22-CR-00194-APM

40 U.S.C. § 5104(e)(2)(G)

24 months’ probation

30 days’ home detention

60 hours’ community service
$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Fontanez-
Rodriguez,
Samuel

1:22-CR-00256-EGS

40 U.S.C. § 5104(e)(2)(G)

30 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

12 months’ probation
50 hours’ community service
$500 restitution

Bostic, Karegan

1:21-CR-00643-CKK

40 U.S.C. 5104(e\(2G)

30 days’ home detention
36 months’ probation
$500 restitution

30 days’ home detention
36 months’ probation
$500 restitution

Bostic, Willard | 1:21-CR-00643-CKK | 40 U.S.C. 5104{e)(2)(G) 90 days’ home detention 90 days home detention
Jr. 36 months’ probation 36 months’ probation
$500 restitution 40 hours community service
$500 restitution
McFadden, 1:21-CR-00248-RDM | 40 U.S.C. § 5104(e)(2)(G) | 90 days’ home detention 30 days’ home detention
Tyrone 36 months’ probation 24 months’ probation

60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Mileur, Aaron

1:21-CR-00248-RDM

40 U.S.C. § 5104(e)(2)(G)

90 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

30 days’ home detention

24 months’ probation

60 hours’ community service
$500 restitution

Williams, Carrie

1:21-CR-00248-RDM

40 U.S.C. § 5104(e)(2)(G)

90 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

30 days’ home detention

24 months’ probation

60 hours’ community service
$500 restitution |

Rutledge,
Meghan

1:21-CR-00643-CKK

40 U.S.C. 5104(e)(2)(G)

90 days’ home detention
36 months’ probation

90 days’ home detention
36 months’ probation

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60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Saer, Lilith

1:22-CR-00374-DLF

40 U.S.C. § 5104(e)(2)(D)
and (G)

60 days home detention

36 months’ probation

60 hours community service
$500 restitution

36 months’ probation
200 hours community service
$500 restitution

Cantrell, Eric

1:22-CR-00121-TNM

18 U.S.C. § 1752(a\(1),
(ay(2);

40 U.S.C. § 5104(e)(2)(D),
(e)(2G)

30 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

3 months’ probation
40 hours’ community service
$500 restitution

Table 3: Cases in which the government recommended a sentence of incarceration

Defendant
Name

Case Number

Offense of Conviction

Government Recommendation

Sentence Imposed

Curzio, Michael

1:21-CR-00041-CJN

40 U.S.C. § 5104(e)(2)(G)

6 months’ incarceration

6 months’ incarceration
$500 restitution

Hodgkins, Paul

1:21-CR-00188-RDM

18 U.S.C. § 1512(c)@)

18 months’ incarceration

8 months’ incarceration
24 months’ supervised release

$2000 restitution
Dresch, Karl 1:21-CR-00071-ABJ | 40 U.S.C. § 5104(e)(2)(G) | 6 months’ incarceration 6 months’
$1000 fine $500 restitution
$500 restitution
Jancart, Derek 1:21-CR-00148-JEB 40 U.S.C. § 5104(e)(2)(D) | 4 months’ incarceration 45 days’ incarceration
$500 restitution $500 restitution
Rau, Erik 1:21-CR-00467-JEB 40 U.S.C. § 5104(e}(2)(D) | 4 months’ incarceration 45 days’ incarceration
$500 restitution $500 restitution
Hemenway, 1:21-CR-00049-TSC | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 45 days’ incarceration
Edward $500 restitution 60 hours’ community service
$500 restitution
Reeder, Robert | 1:21-CR-00166-TFH | 40 U.S.C. § 5104(e)(2)(G) | 6 months’ incarceration 3 months’ incarceration
$500 restitution $500 restitution

Bauer, Robert

1:21-CR-00049-TSC

40 U.S.C. § 5104(e)(2)(G)

30 days’ incarceration
$500 restitution

45 days’ incarceration
60 hours’ community service
$500 restitution

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Smocks, Troy

1:21-CR-00198-TSC

18 U.S.C. § 875(c)

Low end of sentencing
guidelines
36 months’ supervised release

14 months’ incarceration
36 months’ supervised release

Vinson, Lori

1:21-CR-00355-RBW

40 U.S.C. § 5104(e)(2)(G)

30 days’ incarceration
$500 restitution

60 months’ probation

$5,000 fine

120 hours’ community service
$500 restitution

Griffith, Jack

1:21-CR-00204-BAH

40 U.S.C. § 5104(e)(2\(G)

3 months’ incarceration
$500 restitution

3 months’ home detention
36 months’ probation
$500 restitution

Torrens, Eric

1:21-CR-00204-BAH

40 U.S.C. § 5104(e)(2)(G)

14 days’ incarceration
$500 restitution

3 months’ home detention
36 months’ probation
$500 restitution

Gruppo, 1:21-CR-00391-BAH | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 3 months’ home detention
Leonard $500 restitution 24 months’ probation
$3,000 fine
$500 restitution
Ryan, Jennifer 1:21-CR-00050-CRC | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ incarceration 60 days’ incarceration
$500 restitution $1000 fine
$500 restitution
Croy, Glenn 1:21-CR-00162-BAH | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ incarceration 3 months’ home detention
$500 restitution 36 months’ probation
$500 restitution
Stotts, Jordan 1:21-CR-00272-TJK 40 U.S.C. § 5104(e)(2)(G) | 45 days’ incarceration 60 days’ home detention

$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Fairlamb, Scott

1:21-CR-00120-RCL

18 U.S.C. § 1512(c)(2)
18 U.S.C. § Haq)

44 months’ incarceration
36 months’ supervised release
$2000 fine

41 months’ incarceration
36 months’ supervised release
$2000 restitution

Camper, Boyd 1:21-CR-00325-CKK | 40 U.S.C. § 5104(e)(2)(G) | 60 days’ incarceration 60 days’ incarceration
$500 restitution 60 hours’ community service
$500 restitution
Rukstales, 1:21-CR-00041-CJN | 40 U.S.C. § 5104(e)(2)(G) | 45 days’ incarceration 30 days’ incarceration
Bradley $500 restitution $500 restitution

Cordon, Kevin

1:21-CR-00277-TNM

18 U.S.C. § 1752(a\(1)

30 days’ incarceration

12 months’ probation

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12 months’ supervised release
$500 restitution

$4000 fine
100 hours’ community service
$500 restitution

Chansley, Jacob

1:21-CR-00003-RCL

18 U.S.C. § 1512(c)(2)

51 months’ incarceration
36 months’ supervised release

41 months’ incarceration
36 months’ supervised release

$2000 restitution $2000 restitution
Mish, David 1:21-CR-00112-CJIN 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 30 days’ incarceration

$500 restitution $500 restitution
Lolos, John 1:21-CR-00243-APM | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 14 days’ incarceration

$500 restitution $500 restitution
Scavo, Frank 1:21-CR-00254-RCL | 40 U.S.C. § 5104(e}(2)(G) | 14 days’ incarceration 60 days’ incarceration

$500 restitution $5000 fine

$500 restitution

Abual-Ragheb,
Rasha

1:21-CR-00043-CJN

40 U.S.C. § 5104(e)(2)(G)

30 days’ incarceration
$500 restitution

60 days’ home detention
36 months’ probation
60 hours’ community service

$500 restitution
Peterson, 1:21-CR-00309-ABJ | 40 U.S.C. § 5104(e)(2})(G) | 14 days’ incarceration 30 days’ incarceration
Russell $500 restitution $500 restitution
Simon, Mark 1:21-CR-00067-ABJ 40 U.S.C. § 5104(e)(2)(G) | 45 days’ incarceration 35 days’ incarceration
$500 restitution $500 restitution
Ericson, 1:21-CR-00506-TNM | 40 U.S.C. § 5104(e}(2)(G) | 60 days’ incarceration 20 days’ incarceration
Andrew $500 restitution 24 months’ probation
$500 restitution
Pham, Tam 1:21-CR-00109-TJK 40 U.S.C. § 5104(e}(2)(G) | 60 days’ incarceration 45 days’ incarceration
Dinh $500 restitution $1000 fine
$500 restitution
Nelson, 1:21-CR-00344-JDB 40 U.S.C. § 5104(e)(2G) | 14 days’ incarceration 24 months’ probation
Brandon $500 restitution $2500 fine
50 hours’ community service
$500 restitution
Markofski, 1:21-CR-00344-JDB 40 U.S.C. § 5104(e)(2)(G) | 14 days’ incarceration 24 months’ probation
Abram $500 restitution $1000 fine
50 hours’ community service
$500 restitution
Marquez, Felipe | 1:21-CR-00136-RC 18 U.S.C. § 1752(a)(2) 4 months’ incarceration 3 months’ home detention

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12 months’ supervised release
$500 restitution

18 months’ probation
$500 restitution

Meredith,
Cleveland

1:21-CR-00159-ABJ

18 U.S.C. § 875(c)

37-46 months’ incarceration
36 months’ supervised release

28 months’ incarceration
36 months’ supervised release

Sorvisto, Jeremy

1:21-CR-00320-ABJ

40 U.S.C. § 5104(e)(2\(G)

30 days’ incarceration.

30 days’ incarceration

$500 restitution $500 restitution
Mariotto, 1:21-CR-00094-RBW | 40 U.S.C. § 5104(e)(2)(G) | 4 months’ incarceration 36 months’ probation
Anthony 36 months’ probation $5000 fine
$500 restitution 250 hours’ community service
$500 restitution

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Courtright,
Gracyn

1:21-CR-00072-CRC

18 U.S.C. § 1752(a)(1)

6 months’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

30 days’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

Palmer, Robert

1:21-CR-00328-TSC

18 U.S.C, § 111 (a)
18 U.S.C. § 111(b)

63 months’ incarceration
36 months’ supervised release
$2000 restitution

63 months’ incarceration
36 months’ supervised release
$2000 restitution

Thompson, 1:21-CR-0046 1-RCL 18 U.S.C. § 11 1(a) 48 months’ incarceration 46 months’ incarceration
Devlyn 18 U.S.C. § 111(b) 36 months’ supervised release 36 months’ supervised release
$2000 restitution $2000 restitution
Edwards, Gary 1:21-CR-00366-JEB 40 U.S.C. § 5104(e)(2)(G) | 14 days’ incarceration 12 months’ probation
24 months’ probation $2500 fine

$500 restitution

200 hours’ of community service
$500 restitution

Tutrow, Israel

1:21-CR-00310-ABJ

40 U.S.C. § 5104(e)(2)(G)

60 days’ incarceration
$500 restitution

60 days’ home detention
36 months’ probation
$500 restitution

Ridge IV, 1:21-CR-00406-JEB 18 U.S.C. § 1752(a)(1) 45 days’ incarceration 14 days’ incarceration
Leonard 12 months’ supervised release 12 months’ supervised release
60 hours’ community service $1000 fine
$500 restitution 100 hours’ community service
$500 restitution
Perretta, 1:21-CR-00539-TSC | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 30 days’ incarceration
Nicholas $500 restitution $500 restitution
Vukich, 1:21-CR-00539-TSC 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 30 days’ incarceration
Mitchell $500 restitution $500 restitution
Spencer, 1:21-CR-00147-CKK | 40 U.S.C. § 5104{e}(2)(G) | 3 months’ incarceration 3 months’ incarceration
Virginia 36 months’ probation $500 restitution
$500 restitution
Kostolsky, 1:21-CR-00197-DLF | 40 U.S.C. § 5104(e)(2)(G) | 30 days’ incarceration 30 days’ home detention
Jackson $500 restitution 36 months’ probation

$500 restitution

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Rusyn, Michael 1:21-CR-00303-ABJ 40 U.S.C. § 45 days’ incarceration 60 days’ home detention
5104(e)(2)(G) $500 restitution 24 months’ probation
$2000 fine
$500 restitution
Tryon, William | 1:21-CR-00420-RBW 18 U.S.C. § 1752(a)}(1) 30 days’ incarceration 50 days’ incarceration

12 months’ supervised release
$500 restitution

12 months’ supervised release
$1000 fine
$500 restitution

Sells, Tanner 1:21-CR-00549-ABJ 40 U.S.C. § 14 days’ incarceration 3 months’ home detention
5104(e)(2)(G) © 36 months’ probation 24 months’ probation
60 hours’ community service $1500 fine
$500 restitution 50 hours’ community service
$500 restitution
Walden, Jon 1:21-CR-00548-DLF 40 U.S.C. § 14 days’ incarceration 30 days’ home detention
$104(e)(2)(G) 60 hours’ community service 36 months’ probation
$500 restitution 60 hours’ community service
$500 restitution
Prado, Nicole 1:21-CR-00403-RC 40 U.S.C. § 14 days’ incarceration 12 months’ probation
5104(e(2)(G) 36 months’ probation $742 fine
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Williams, Vic 1:21-CR-00388-RC 40 U.S.C. § 14 days’ incarceration 60 days’ home detention
5104(e)(2)(G) 36 months’ probation 12 months’ probation
60 hours’ community service $1500 fine
$500 restitution 60 hours’ community service
$500 restitution
Wiedrich, Jacob | 1:21-CR-00581-TFH 40 U.S.C. § 3 months’ incarceration 3 months’ home detention
5104(e)(2){G) 36 months’ probation 36 months’ probation
$500 restitution 100 hours’ community service
$500 restitution
Stepakoff, 1:21-CR-00096-RC 40 U.S.C. § 14 days’ incarceration 60 days’ home detention
Michael 5104(e)(2){(G) 36 months’ probation 12 months’ probation
60 hours’ community service $742 fine
$500 restitution 60 hours’ community service
$500 restitution
Scirica, Anthony | 1:21-CR-00457-CRC 40 U.S.C. § 15 days’ incarceration 15 days’ incarceration

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5104(e)(2)(G) $500 restitution $500 fine
$500 restitution
Crase, Dalton 1:21-CR-00082-CJN 40 U.S.C. § 30 days’ incarceration 15 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Williams, Troy 1:21-CR-00082-CJIN 40 U.S.C. § 30 days’ incarceration 15 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Languerand, 1:21-CR-00353-JDB 18 U.S.C. § 111 (a) 51 months’ incarceration 44 months’ incarceration
Nicholas 18 U.S.C. § 111 (b) 36 months’ supervised release | 24 months’ supervised release
$2000 restitution 60 hours’ community service
$2000 restitution
Wilson, Zachary | 1:21-CR-00578-APM 40 U.S.C. § 14 days’ incarceration 45 days’ home detention
5104(e}(2)(G) 36 months’ probation 24 months’ probation
$500 restitution 60 hours’ community service
$500 restitution
Wilson, Kelsey 1:21-CR-00578-APM 40 U.S.C. § 14 days’ incarceration 30 days’ home detention
5104(e}(2)(G) 36 months’ probation 24 months’ probation
$500 restitution 60 hours’ community service
$500 restitution
McAuliffe, Justin | 1:21-CR-00608-RCL 40 U.S.C. § 14 days’ incarceration 60 days’ home detention
5104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Williams, 1:21-CR-00045-DLF 40 U.S.C. § 30 days’ incarceration 24 months’ probation
Andrew 5104(e)(2)(G) 24 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Leffingwell, 1:21-CR-00005-ABJ 18 U.S.C. § T11(aX1) 27 months’ incarceration 6 months’ incarceration
Mark 36 months’ supervised release | 24 months’ supervised release

$2000 restitution 200 hours’ community service
$2,000 restitution
Wagner, Joshua | 1:21-CR-00310-ABJ 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
5104(e}(2)(G) 36 months’ probation $500 restitution

$500 restitution

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Stenz, Brian 1:21-CR-00456-BAH 40 U.S.C. § 14 days’ incarceration 14 days’ incarceration
5104(e)(2)(G) 36 months’ probation 2 months’ home detention
60 hours’ community service 36 months’ probation
$500 restitution $2500 fine
$500 restitution
Schornak, Robert | 1:21-CR-00278-BAH 18 U.S.C. § 1752(a)(1) 4-6 months’ incarceration 28 days’ intermittent confinement

12 months’ supervised release
60 hours’ community service

2 months’ home detention
36 months’ probation

$500 restitution $500 restitution
Castro, Mariposa | 1:21-CR-00299-RBW_ | 40 U.S.C. § 60 days’ incarceration 45 days’ incarceration
$104(e)(2)(G) $500 restitution $5000 fine
Sunstrum, Traci 1:21-CR-00652-CRC 40 U.S.C. § 14 days’ incarceration 30 days’ home detention
5104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Register, Jeffrey | 1:21-CR-00349-TJK 40 U.S.C. § 5 months’ incarceration 75 days’ incarceration
5104(e)(2)(G) $500 restitution $500 restitution

Johnson, Adam

1:21-CR-00648-RBW

18 U.S.C. § 1752(a)(1)

3 months’ incarceration
12 month’s supervised release
$5000 fine

75 days’ incarceration

12 months’ supervised release
$5000 fine

200 hours’ community service
$500 restitution

Howell, Annie

1:21-CR-00217-TFH

18 U.S.C. § 1752(a)(1)

60 days’ incarceration
12 month’s supervised release
$500 restitution

60 days’ intermittent incarceration
36 months’ probation

60 hours’ community service
$500 restitution

Gonzalez,
Eduardo

1:21-CR-00115-CRC

40 U.S.C. §
5104(e)(2)(G)

3 months’ incarceration
$500 restitution

24 months’ probation
$1000 fine
$500 restitution

Wilson, Duke

1:21-CR-00345-RCL

18 U.S.C. § 1512(cX2)
18 U.S.C. § 11 1(a)(1)

46 months’ incarceration
$2000 + TBD restitution for
injured officer

51 months’ incarceration
36 months’ supervised release
TBD restitution

Strong, Kevin

1:21-CR-001 14-TJK

40 U.S.C. §
5104(e)(2)(G)

14 days’ incarceration
36 months’ probation
$500 restitution

30 days’ home detention

24 months’ probation

60 hours’ community service
$500 restitution

Bonet, James

1:21-CR-00121-EGS

18 U.S.C. § 1752(a)C)

3 months’ incarceration

45 days’ incarceration

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12 months’ probation
$500 restitution

12 months’ probation
200 hours’ community service
$500 restitution

Nalley, Verden 1:21-CR-00016-DLF

18 U.S.C. § 1752(a)(1)

14 days’ incarceration

12 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Carico, Michael 1:21-CR-00696-TJK 40 U.S.C. § 30 days’ incarceration 60 days’ home detention
§104(e}(2)(G) 36 months’ probation 24 months’ probation
$500 restitution $500 fine
60 hours’ community service
$500 restitution
Little, James 1:21-CR-00315-RCL 40 U.S.C. § 30 days’ incarceration 60 days’ incarceration
§104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Loftus, Kevin 1:21-CR-00081-DLF 40 U.S.C. § 30 days’ incarceration 36 months’ probation
5104(e)(2)(G) 36 months’ probation 60 hours’ community service
$500 restitution
Smith, Jeffrey 1:21-CR-00290-RBW | 40 U.S.C. § 5 months’ incarceration 3 months’ incarceration
5104(e}(2)(G) $500 restitution 24 months’ probation
200 hours’ community service
$500 restitution
Kelley, Kari 1:21-CR-00201-DLF 40 U.S.C. § 30 days’ incarceration 36 months’ probation
5104(e}(2)(G) 36 months’ probation $500 restitution
: $500 restitution
Martin, Zachary | 1:21-CR-00201-DLF 40 U.S.C. § 30 days’ incarceration 36 months’ probation
5104(e}(2)(G) 36 months’ probation $1000 fine
$500 restitution 60 hours’ community service
$500 restitution
Cudd, Jenny 1:21-CR-00068-TNM 18 U.S.C. § 1752(a)(1) 75 days’ incarceration 60 days’ probation
12 months’ supervised release | $5000 fine
$500 restitution $500 restitution
Jackson, Micajah | 1:21-CR-00484-RDM | 40 U.S.C. § 60 days’ incarceration 36 months’ probation
§104(e}(2}(G) 36 months’ supervised release | $1,000 fine
$500 restitution $500 restitution
Petrosh, Robert 1:21-CR-00347-TNM 18 U.S.C. § 641 4 months’ incarceration 10 days’ incarceration

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12 months’ supervised release
60 hours’ community service
$938 restitution

12 months’ supervised release
$1,000 fine
$938 restitution

Ivey, Bryan 1:21-CR-00267-CRC 40 U.S.C. § 14 days’ incarceration 60 days’ home detention
5104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
60 hours’ community service 60 hours’ community service
Burress, Gabriel | 1:21-CR-00744-TJK 40 U.S.C. § 14 days’ incarceration 45 days’ home detention
5104(e)(2)(G) 36 months’ probation 18 months’ probation
$500 restitution $500 restitution
60 hours’ community service 60 hours’ community service
Pettit, Madison 1:21-CR-00744-TJK 40 U.S.C. § 14 days’ incarceration 45 days’ home detention
§104(e)(2)(G) 36 months’ probation 18 months’ probation

$500 restitution
60 hours’ community service

$500 restitution
60 hours’ community service

Coffman, Lonnie | 1:21-CR-00004-CKK

26 U.S.C. § 5861(d)
22 D.C. Code § 4504(a)

Middle of SGR
36 months’ probation

46 months’ incarceration
36 months’ supervised release

Fee, Thomas 1:21-CR-00133-JDB

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

$500 restitution

60 hours’ community service

24 months’ probation

$500 fine

$500 restitution

50 hours’ community service

Herendeen, 1:21-CR-00278-BAH

Daniel

18 U.S.C. § 1752(a)(1)

28 days’ incarceration

36 months’ probation

$500 restitution

60 hours’ community service

14 days’ incarceration
60 days’ home detention
36 months’ probation
$500 restitution

Zlab, Joseph 1:21-CR-00389-RBW | 40 U.S.C. § 45 days’ incarceration 36 months’ probation
5104(e}(2)(G) 36 months’ probation $500 fine
$500 restitution $500 restitution
60 hours’ community service 200 hours’ community service
Riddle, Jason 1:21-CR-00304-DLF 18 U.S.C. § 641 3 months’ incarceration 3 months’ incarceration
40 U.S.C. 12 months’ supervised release | 36 months’ probation
§ 5104(e)(2(G) $754 restitution $754 restitution

60 days’ community service

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Fox, Samuel 1:21-CR-00435-BAH

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration
36 months’ probation
$500 restitution

60 days’ home detention
36 months’ probation
$2,500 fine

$500 restitution

O’Brien, Kelly 1:21-CR-00633-RCL

18 U.S.C. § 1752(a)(1)

5 months’ incarceration
12 months’ supervised release
$500 restitution

3 months’ incarceration

12 months’ supervised release
$1,000 fine

$500 restitution

Hardin, Michael 1:21-CR-00280-TJK

40 U.S.C. §
5104(e)(2)(G)

45 days’ incarceration

36 months’ probation

$500 restitution

60 hours’ community service

30 days’ home detention

18 months’ probation

$500 restitution

60 hours’ community service

Hernandez, 1:21-CR-00747-JEB 18 U.S.C. § 1752(a)(1) 45 days’ incarceration 30 days’ incarceration
Emily 12 months’ supervised release 12 months’ supervised release
$500 restitution $500 restitution
60 hours’ community service 80 hours’ community service
Merry, William 1:21-CR-00748-JEB 18 U.S.C. § 641 4 months’ incarceration 45 days’ incarceration
12 months’ supervised release | 9 months’ supervised release
$500 restitution 80 hours’ community service
60 hours’ community service :
Westover, Paul 1:21-CR-00697-JEB 40 U.S.C. § 3 months’ incarceration 45 days’ incarceration
5104(e)(2)(G) $500 restitution $500 restitution
Q’Malley, 1:21-CR-00704-CRC 40 U.S.C. § 45 days’ incarceration 24 months’ probation
Timothy 5104(e)(2)(G) 36 months’ probation 20 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Reed, Blake 1:21-CR-00204-BAH 18 U.S.C. § 1752(a)(1) 3 months’ incarceration 42 days’ intermittent confinement
12 months’ supervised release | 3 months’ home detention
$500 restitution 36 months’ probation
$2500 fine
$500 restitution
Rebegila, Mark 1:21-CR-00283-APM | 40 U.S.C. § 60 days’ incarceration 30 days’ home detention
5104(e)(2)(G) 36 months’ probation 24 months’ probation

$500 restitution

$2000 fine
60 hours’ community service
$500 restitution

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Watrous, Richard | 1:21-CR-00627-BAH | 40 U.S.C. § 14 days’ incarceration 14 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 60 days’ home detention
60 hours’ community service 36 months’ probation
$500 restitution $2500 fine
$500 restitution
Meteer, Clifford | 1:21-CR-00630-CJN 40 U.S.C. § 75 days’ incarceration 60 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
| $500 restitution $500 restitution
Conover, Thomas | 1:21-CR-00743-F YP 40 U.S.C. § 30 days’ incarceration 36 months’ probation
§104(e)(2)(G) 36 months’ probation $2500 fine
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Lavin, Jean 1:21-CR-00596-BAH 40 U.S.C. § 14 days’ incarceration 10 days’ intermittent confinement
§104(e)(2)(G) 36 months’ probation 60 days’ home detention
$500 restitution 36 months’ probation
$2500 fine
$500 restitution
Krzywicki, Carla 40 U.S.C. § 30 days’ incarceration 36 months’ probation

1:2]-CR-00596-BAH

3104(e)(2)(G)

36 months’ probation
$500 restitution

3 months’ home detention
$500 restitution

Kulas, Christian | 1:21-CR-00397-TFH 40 U.S.C. § 14 days’ incarceration 6 months’ probation
5104(e)(2)(G) 36 months’ probation 60 days’ home detention
60 hours’ community service $500 restitution
$500 restitution
Kulas, Mark 1:21-CR-00693-TFH 40 U.S.C. § 14 days’ incarceration 6 months’ probation
3104(e)(2)(G) 36 months’ probation 60 days’ home detention
60 hours’ community service $500 restitution
$500 restitution
Von Bernewitz, | 1:21-CR-00307-CRC 40 U.S.C. § 14 days’ incarceration 60 days’ home detention
Eric $104(e})(2)(G) 36 months’ probation 24 months’ probation
60 hours’ community service $1000 fine
$500 restitution - $500 restitution
Von Bernewitz, 1:21-CR-00307-CRC 40 U.S.C. § 45 days’ incarceration 30 days’ incarceration
Paul 5104(e)(2)(G) 36 months’ probation $500 restitution

60 hours’ community service

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$500 restitution

Ballesteros, 1:21-CR-00580-DLF 40 U.S.C. 14 days’ incarceration 36 months’ probation
Robert § 5104(e)(2)(G) 24 months’ probation 40 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Sarko, Oliver 1:21-CR-00591-CKK 40 U.S.C. 30 days’ incarceration 30 days’ incarceration
§ 5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Vuksanaj, 1:21-CR-00620-BAH 40 U.S.C. 3 months’ incarceration 42 days’ intermittent confinement
Anthony § 5104(e)(2)(G) 36 months’ probation 3 months’ home detention

60 hours’ community service
$500 restitution

36 months’ probation

$2000 fine
$500 restitution

Creek, Kevin

1:21-CR-00645-DLF

18 U.S.C. § 111(aq)

27 months’ incarceration
36 months’ supervised release
$2000 restitution

27 months’ incarceration
12 months’ supervised release
$2000 restitution

Peart, Willard 1:21-CR-00662-PLF 40 U.S.C. 30 days’ incarceration 60 days’ home detention
§ 5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 240 hours” community service
$500 restitution $500 fine
$500 restitution
Webler, Matthew | 1:21-CR-00741-DLF 40 U.S.C. 3 months’ incarceration 45 days’ incarceration
§ 5104(e})(2)(G) $500 restitution $500 restitution
Mostofsky, 1:21-CR-00138-JEB 18 U.S.C. § 641 15 months’ incarceration 8 months’ incarceration
Aaron 18 U.S.C. § 231(a)(3) 36 months’ supervised release 12 months’ supervised release
18 U.S.C. § 1752(a){1) $2000 restitution 200 hours’ community service
$2000 restitution
Entrekin, Nathan | 1:21-CR-00686-F YP 40 U.S.C. § 105 days’ incarceration 45 days’ incarceration
5104(e})(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Kidd, Nolan 1:21-CR-00429-CRC 40 U.S.C. § 3 months’ incarceration 45 days’ incarceration
§104(e}(2)(G) 36 months’ probation $500 restitution

60 hours’ community service
$500 restitution

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Baker, Stephen 1:21-CR-00273-TFH 40 U.S.C. § 30 days’ incarceration 9 days’ intermittent confinement
5104(e)(2)(G) $500 restitution 24 months’ probation
$500 restitution
McDonald, 1:21-CR-00429-CRC 40 U.S.C. § 3 months’ incarceration 21 days’ incarceration
Savannah 5104(e)(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Honeycutt, Adam | 1:22-CR-00050-CJN 40 U.S.C. § 3 months’ incarceration 3 months’ incarceration
5104(e)}(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Spain, Jr., 1:21-CR-00651-DLF 40 U.S.C. § 30 days’ incarceration 36 months’ probation
Edward 5104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Kramer, Philip 1:21-CR-00413-EGS 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
$104(e)(2)(G) 36 months’ probation $2500 fine
60 hours’ community service 100 hours’ community service
$500 restitution $500 restitution
Ehmke, Hunter 1:21-CR-00029-TSC 18 U.S.C. § 1361 4 months’ incarceration 4 months’ incarceration
36 months’ supervised release | 36 months’ supervised release
$2,181 restitution $2,181 restitution
Chapman, Robert | 1:21-CR-00676-RC 40 U.S.C. § 45 days’ incarceration 3 months’ home detention
5104(e}(2)(G) 36 months’ probation 18 months’ probation
$742 fine
60 hours’ community service
$500 restitution
Timbrook, 1:21-CR-00361-TNM 40 U.S.C. § 3 months’ incarceration 14 days’ incarceration
Michael 5104(e)(2)(G) 36 months’ probation 12 months’ probation

$500 restitution

Miller, Matthew

1:21-CR-00075-RDM

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 111(a)(1)

51 months’ incarceration
36 months’ supervised release

33 months’ incarceration

24 months’ probation

$2000 restitution

100 hours’ community service

Hemphill,
Pamela

1:21-CR-00555-RCL

40 US.C. §
5104(e)(2)(G)

60 days’ incarceration
36 months’ probation

60 days’ incarceration
36 months’ probation

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$500 restitution

Rubenacker,
Greg

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18 U.S.C. § 231(a)(3)
18 U.S.C. § 1512(c)(2)
18 U.S.C. § 111(a)

18 U.S.C. § 1752(a)Q)
18 U.S.C. § 1752(a)(2)
18 U.S.C. § 1752(a)(4)
40 U.S.C. §
5104(e}(2)(D)

40 U.S.C. §
5104(e}(2)(E)

40 U.S.C. § 5104(e)(2)(F)
40 U.S.C. §
5104(e}(2)(G)

46 months’ incarceration
36 months’ supervised release

41 months’ incarceration
36 months’ supervised release
$2000 restitution

Johnson, Daniel

1:21-CR-00407-DLF

18 U.S.C. § 231(a\(3)

6 months’ incarceration
12 months’ supervised release

4 months’ incarceration
12 months’ supervised release
$2000 restitution

Johnson, Daryl

1:21-CR-00407-DLF

18 U.S.C. § 231(a)(3)

3 months’ incarceration
12 months’ supervised release

30 days’ incarceration

12 months’ supervised release
$2000 fine

$2000 restitution

Buhler, Janet 1:21-CR-005 10-CKK 40 U.S.C. 30 days’ incarceration 30 days’ incarceration
§ 5104(e)(2)(G) 36 months’ supervised release 36 months’ supervised release
$500 restitution
Tagaris, Jody 1:21-CR-00368-JDB 40 U.S.C. § 30 days’ incarceration 24 months’ probation
5104(e)(2)(G) 36 months’ probation $2000 fine
$500 restitution $500 restitution
60 hours’ community service
Heinl, Jennifer 1:21-CR-00370-EGS 40 U.S.C. § 14 days’ incarceration 14 days’ incarceration
5104(e)(2)(G) 36 months’ probation 24 months’ probation
$500 restitution $500 restitution
Sywak, William | 1:21-CR-00494-RC 40 US.C. § 45 days’ incarceration 60 days’ home detention
Jason 5104(e)(2)(G) 36 months’ probation 12 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Sywak, William | 1:21-CR-00494-RC 40 U.S.C. § 30 days’ incarceration 4 months’ home detention

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Michael 5104(e)(2)(G) 36 months’ probation 24 months’ probation
$500 restitution 60 hours’ community service
$500 restitution
Laurens, 1:21-CR-00450-RC 40 U.S.C. § 30 days’ incarceration 60 days’ home detention
Jonathan 5104(e}(2)(G) 36 months’ probation 12 months’ probation
$500 restitution $742 fine
$500 restitution
60 hours’ community service
Cooke, Nolan 1:22-CR-00052-RCL 18 U.S.C. § 231(aX3) 11 months’ incarceration 366 days’ incarceration

36 months’ supervised release
$2000 restitution

36 months’ supervised release
$2000 restitution

Barber, Eric

1:21-cr-00228-CRC

40 U.S.C. §
$104(e)(2)(G)
22 D.C. Code 3212

4 months’ incarceration
36 months’ probation
$552.95 restitution

45 days’ incarceration
24 months’ probation
$552.95 restitution

Gold, Simone

1:21-CR-00085-CRC

18 U.S.C. § 1752(a)(1)

3 months’ incarceration

12 months’ supervised release
$500 restitution

60 hours’ community service

60 days’ incarceration

12 months’ supervised release
$9,500 fine

$500 restitution

Griffin, Cuoy 1:21-CR-00092-TNM 18 U.S.C. § 1752(a}(1) 60 days’ incarceration 14 days’ incarceration

12 months’ supervised release 12 months’ supervised release
Stackhouse, 1:21-CR-00240-BAH 40 U.S.C. § 45 days’ incarceration 14 days’ incarceration
Lawrence 5104(e)(2)(G) 36 months’ probation 36 months’ probation

$500 restitution $500 restitution
Baranyi, 1:21-CR-00062-JEB 18 U.S.C. § 1752 (a)(1) 4 months’ incarceration 30 days’ incarceration
Lawrence 12 months’ supervised release 12 months’ supervised release

$500 restitution

$500 restitution

Evans, Derrick

1:21-CR-00337-RCL

18 U.S.C. § 231(a)(3)

3 months’ incarceration
36 months’ supervised release

3 months’ incarceration
36 months’ supervised release

$2000 restitution $2000 restitution
$2000 fine
Lucard, Carson 1:22-CR-00087-BAH 40 US.C. 3 months’ incarceration 21 days’ intermittent confinement
§ 5104(e}(2)(G) 36 months’ probation 36 months’ probation
$500 restitution 60 days’ home detention
$500 restitution
Cunningham, 1:21-CR-00603-RC 40 U.S.C. § 14 days’ incarceration 3 months’ home detention
Christopher $104(e)(2)(G) 36 months’ probation 12 months’ probation

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$500 restitution $1,113 fine
$500 restitution
Prezlin, Brandon | 1:21-CR-00694-TNM | 40 U.S.C. § 14 days’ incarceration 10 months’ probation
§104(e)(2)(G) 36 months’ probation $2,500 fine
$500 restitution 120 hours’ community service
$500 restitution
Weisbecker, 1:21-CR-00682-TFH 40 U.S.C. § 60 days’ incarceration 30 days’ intermittent confinement
Philip $104(e)(2)(G) 36 months’ probation 24 months’ probation

$500 restitution

$2,000 fine
$500 restitution

Sidorski, Dennis | 1:21-CR-00048-ABJ

18 U.S.C. § 1752 (a)(2)

12 months’ incarceration
12 months’ supervised release
$500 restitution

100 days’ incarceration

12 months’ supervised release
50 hours’ community service
$500 restitution

Bromiley, Phillip | 1:21-CR-00250-PLF

18 U.S.C. § 1752(a)(2)

12 months’ incarceration
12 months’ supervised release
$500 restitution

3 months’ incarceration

12 months’ supervised release
$4,000 fine

$2,000 restitution

Revlett, Jordan 1:21-CR-00281-JEB 40 U.S.C. 30 days’ incarceration 14 days’ incarceration
§ 5104(e)(2)(G) 36 months’ probation 12 months’ probation
$500 restitution 80 hours’ community service
$500 restitution
Snow, Robert 1:22-CR-00030-TJK 40 U.S.C. 14 days’ incarceration 12 months’ probation
§ 5104(e)(2)(G) 36 months’ probation 60 hours’ community service
$500 restitution $500 restitution
Torre, Benjamin | 1:21-CR-00143-RC 40 U.S.C. § 14 days’ incarceration 12 months’ probation
5104(e}(2)(G) 36 months’ probation $1,113 fine

$500 restitution

60 hours’ community service
$500 restitution

Grace, Jeremey 1:21-CR-00492-JDM 18 U.S.C. § 1752 (a)(1) 60 days’ incarceration 21 days’ incarceration
12 months’ supervised release 12 months’ supervised release
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Getsinger, John 1:21-CR-00607-EGS 40 U.S.C. § 45 days’ incarceration 60 days’ incarceration
5104(e}(2)(G) 36 months’ probation 36 months’ probation

$500 restitution

100 hours’ community service

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$500 restitution

Getsinger, Stacie

1:21-CR-00607-EGS

40 U.S.C. §
5104(e)(2)(G)

45 days’ incarceration
36 months’ probation
$500 restitution

60 days’ incarceration

36 months’ probation

100 hours’ community service
$500 restitution

Suarez, Marissa | 1:21-CR-00205-DLF 40 U.S.C. § 14 days’ incarceration 36 months’ probation
5104(e}(2)(G) 36 months’ probation 60 hours’ community service
$500 restitution $2000 fine
$500 restitution
Todisco, Patricia | 1:21-CR-00205-DLF 40 U.S.C. § 14 days’ incarceration 36 months’ probation

5104(e)(2)(G)

36 months’ probation
$500 restitution

60 hours’ community service
$2000 fine
$500 restitution

Blair, David 1:21-CR-00186-CRC 18 U.S.C. § 231(a\(3) 8 months’ incarceration 5 months’ incarceration
36 months’ supervised release 18 months’ supervised release
$2000 restitution $2,000 restitution
Griswold, 1:21-CR-00459-CRC 18 U.S.C. § 231(a\3) 5 months’ incarceration 75 days’ incarceration
Andrew 36 months’ supervised release | 24 months’ supervised release
$2,000 restitution $2,000 restitution
Blakely, Kevin 1:21-CR-00356-EGS 40 U.S.C. § 4 months’ incarceration 4 months’ incarceration
$104(e)(2)(G) 36 months’ probation 18 months’ probation
$500 restitution 100 hours’ supervised release
$500 restitution
Persick, Kerry 1:21-CR-00485-BAH 40 U.S.C. § 14 days’ incarceration 36 months’ probation
5104(e)(2)(G) 36 months’ probation 90 days’ supervised release
$500 restitution $5,000 fine
$500 restitution
Ticas, David 1:21-CR-00601-JDB 40 U.S.C. § 5104(e)(2)(G_ | 3 months’ incarceration 14 days’ incarceration
36 months’ probation 24 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Lindsey, Terry 1:21-CR-00162-BAH 18 U.S.C. § 1752(a)(1) 12 months’ incarceration 5 months’ incarceration
40 U.S.C. § 12 months’ supervised release | 36 months’ probation
5104(e)(2}(D) 60 hours’ community service $500 restitution
40 U.S.C. § $500 restitution
5104(e}(2)(G)

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Mattice, Cody

1:21-CR-00657-BAH

18 U.S.C. § 111(a)cl)

44 months’ incarceration
36 months’ supervised release
$2,000 restitution

44 months’ incarceration
36 months’ supervised release
$2,000 restitution

Mault, James

1:21-CR-00657-BAH

18 U.S.C. § I 1(ayl)

44 months’ incarceration
36 months’ supervised release
$2,000 restitution

44 months’ incarceration
36 months’ supervised release
$2,000 restitution

Bancroft, Dawn | 1:21-CR-00271-ESG 40 ULS.C. § 60 days’ incarceration 60 days’ incarceration
5104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Santos-Smith, 1:21-CR-00271-ESG 40 U.S.C. § 14 days’ incarceration 20 days’ incarceration
Diana 5104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Buckler, 1:22-CR-00162-TNM | 40 U.S.C. § 30 days’ incarceration 14 days’ home detention
Matthew 5104(e)(2)(G) 36 months’ probation 24 months’ probation

60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Romero, Moises

1:21-CR-00677-TSC

18 U.S.C. § 231(a)(3)

11 months’ incarceration
36 months’ supervised release
$2000 restitution

12 months and | days’ incarceration
12 months’ supervised release
52,000 restitution

Ponder, Mark 1:21-CR-00259-TSC 18 U.S.C. § 111(a)(1) and | 60 months’ incarceration 63 months’ incarceration
(b) 36 months’ supervised release | 36 months’ supervised release
$2000 restitution $2000 restitution
Mental health treatment
Bishai, Elliot 1:21-CR-00282-TSC 18 U.S.C. § 1752(a}(1) 30 days’ incarceration 14 days’ incarceration
12 months’ supervised release 12 months’ supervised release
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Reffitt, Guy 1:21-CR-00032-DLF 18 U.S.C. § 231(a)(2) 180 months’ incarceration 87 months’ incarceration

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 231(a)3)
18 U.S.C. §
1512(a)(2)(C)

3 years supervised release
$2000 restitution

3 years supervised release
$2000 restitution

Caplinger,

1:21-CR-00342-PLF

40 U.S.C. § 5104(d)

3 months’ incarceration

35 days’ incarceration

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Jeremiah 36 months’ probation 24 months’ probation
$500 restitution 60 hours’ community service
$500 restitution
Cavanaugh, 1:21-CR-00362-APM | 40 U.S.C. § 30 days’ incarceration 24 months’ probation
Andrew 5104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Baggott, 1:21-CR-00411-APM 18 U.S.C. § 1752(a)(2) middle of sentencing guidelines | 3 months’ incarceration
Matthew range 12 months’ supervised release
12 months’ supervised release | 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Willden, Ricky 1:21-CR-00423-RC 18 U.S.C. § 11 i(ay(1) 30 months’ incarceration 24 months’ incarceration
36 months’ supervised release | 36 months’ release
$2000 restitution $2000 restitution
Hyland, Jason 1:21-CR-00050-CRC 40 U.S.C. § 30 days’ incarceration 7 days’ incarceration
5104(e)(2)(G) 36 months’ probation $500 restitution
$500 restitution $4,000 fine
Ortiz, 1:22-CR-00082-JMC 40 U.S.C. § 5 months’ incarceration 12 months’ probation
Christopher 5104(e}(2)(G) 36 months’ probation 60 days’ home detention
$500 restitution 100 hours’ community service
$500 restitution
Homer, Lisa 1:22-CR-00238-TNM | 40 U.S.C. § 30 days’ incarceration 36 months’ probation
5104(e}(2)(G) 36 months’ probation $5,000 fine
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution

Betancur, Bryan

1:21-CR-00051-TJK

18 U.S.C. § 1752(a)(1)

6 months’ incarceration
12 months’ supervised release
$500 restitution

4 months’ incarceration
12 months’ supervised release
$500 restitution

Larocca, 1:21-CR-00317-TSC 18 U.S.C. § 1752(a}(2) 3 months’ incarceration 60 days’ incarceration
Benjamin 12 months’ supervised release 12 months’ supervised release
$500 restitution $5,000 fine
60 hours’ community service
$500 restitution
Robertson, 1:21-CR-00034-CRC 18 U.S.C. § 1512(c)(2) 96 months’ incarceration 87 months’ incarceration
Thomas 18 U.S.C. § 231(a)(3) 3 years’ supervised release 36 months’ supervised release

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18 U.S.C. § 1752(aX1)
18 US.C. §
1752(b)(1)(A)

18 U.S.C. § 1752(aX2)
and (b)(1)(A)

40 US.C. §
5104(e)(2)(D)

$2,000 restitution
$100 special assessment for
each count of conviction

$2,000 restitution

Simon, Glen
Mitchell

1:21-CR-00346-BAH

18 U.S.C. § 1752(a)(2)

10 months’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

8 months’ incarceration

12 months’ supervised release
$1,000 fine

$500 restitution

Cameron, John

1:22-CR-00017-TFH

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

30 days’ incarceration
36 months’ probation
$1,000 fine

$500 restitution

Fracker, Jacob 1:21-CR-00034-CRC 18 U.S.C, § 371 6 months’ probation 12 months’ probation
3 years’ supervised release 59 days’ home detention
$100 special assessment 120 hours’ community service
$2,000 restitution $2,000 restitution
Morrissey, 1:21-CR-00660-RBW | 40 U.S.C. § 14 days’ incarceration 45 days’ incarceration
Daniel 5104(e}(2)(G) 36 months’ probation 36 months’ probation
90 days’ home detention $2,500 fine
60 hours’ community service $500 restitution
$500 restitution
Lazo, Kene 1:21-CR-00425-CRC 40 U.S.C. § 3 months’ incarceration 45 days’ incarceration
5104(e}(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Knutson, Billy 1:22-CR-0003 1-F YP 18 U.S.C. § 1752(a)(1) 6 months’ incarceration 6 months’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

12 months’ supervised release
$500 restitution

Carlton, Daniel
Jonathan

1:21-CR-00247-TFH

40 U.S.C. §
5104(e\(2)(G)

3 months’ incarceration
36 months’ probation
60 hours’ community service

36 months’ supervised release
$500 restitution

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$500 restitution

Richardson, 1:21-CR-00721-CKK

Howard

18US.C.§ 11aXl)

46 months’ incarceration
3 years supervised release
$2,000 restitution

46 months’ incarceration
36 months’ probation
$2,000 restitution

Pruitt, Joshua 1:21-CR-00023-JK

18 U.S.C. § 1512(c)(2)

60 months’ incarceration
36 months’ supervised release
$2,000 restitution

55 months’ incarceration
36 months’ supervised release
$2,000 restitution

Thurlow, Steven | 1:21-CR-00615-DLF

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation
80 hours’ community service
$500 restitution

Cortez, Christian | 1:21-CR-00317-TSC

Glen

18 U.S.C. § 23 1(a)(3)

4 months’ incarceration
36 months’ supervised release
$2,000 restitution

4 months’ incarceration

36 months’ supervised release
60 hours’ community service
$2,000 restitution

Webster, Thomas | 1:21-CR-00208-APM

18 U.S.C. § I11(a)(1), (b)
18 U.S.C. § 231(a)(3)

18 U.S.C. § 1752(a\(1),
(b)(1)(A)

18 U.S.C. § 1752(a)(2),
(b)(I)(A)

18 U.S.C. § 1752(a)(4),
(b)(1)(A)

40 U.S.C. § 5104(e)(2)(f)

210 months’ incarceration
36 months’ supervised release
$2,060 restitution

120 months’ incarceration
36 months’ supervised release
$2,060 restitution

Michetti, Richard | 1:21-cr-00232-CRC

18 U.S.C, § 1512(¢)(2)

18 months’ incarceration
36 months’ supervised release
$2,000 restitution

9 months’ incarceration
24 months’ supervised release
$2,000 restitution

Watson, Sean 1:21-CR-00422-APM 40 U.S.C. § 14 days’ incarceration 7 days’ incarceration
5104(e)(2)(G) 36 months’ probations 24 months’ probation
‘ 60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
MeNicoll, Lois 1:21-CR-00468-DLF 40 U.S.C. § 14 days” incarceration 24 months’ probation
Lynn $104(e)(2)(G) 36 months’ probation 80 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Schwartzberg, 1:21-CR-00338 — TFH | 40 U.S.C. § 120 days’ incarceration 45 days’ incarceration

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Dovid 5104(e}(2)(G) 36 months’ probations $500 restitution
60 hours’ community service
$500 restitution
Youngers, 1:21-CR-00640-—TFH | 40 U.S.C. § 30 days’ incarceration 36 months’ probation
Darrell 5104(e}(2)(G) 36 months’ probation $1,000 fine
60 hours’ community service $500 restitution
$500 restitution
Vollan, Cody 1:22-CR-00044-APM | 40 U.S.C. § 14 days’ incarceration 12 months’ probation
5104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Carollo, Anthoy | 1:22-CR-00044-APM 40 ULS.C. § 14 days’ incarceration 12 months’ probation
5104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Carollo, Jeremiah | 1:22-CR-00044-APM | 40 U.S.C. § 45 days’ incarceration 21 days’ incarceration
5104(e)(2)(G) 36 months’ probation 12 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Bratjan, Frank 1:22-CR-00285-TNM | 40 U.S.C. § 14 days’ incarceration 6 months’ probation
§104(e)(2)(G) 36 months’ probation $1500 fine
60 days’ community service $500 restitution
$500 restitution
Ferreira, Leticia | 1:22-CR-00210-THC 40 U.S.C. § 30 days’ incarceration 3 months’ home detention
5104(e)(2)(G) 36 months’ probation 12 months’ probation
60 hours’ community service $371 fine
$500 restitution 60 hours’ community service
$500 restitution
Connor, Francis | 1:21-CR-00586-RC 40 U.S.C. § 45 days’ incarceration 12 months’ probation
3104(e)(2)(G) 36 months’ probation $371 fine
$500 probation 60 hours’ community service
$500 probation
Ferrigno, 1:21-CR-00586-RC 40 U.S.C. § 30 days’ incarceration 12 months’ probation
Antonio 5104(e)(2)(G) 36 months’ probation $371 fine
$500 restitution :
-| Lunyk, Anton 1:21-CR-00586-RC 40 U.S.C. § 20 days’ incarceration 12 months’ probation

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$104(e)(2)(G) 36 months’ probation $742 fine
$500 restitution 60 hours’ community service
$500 restitution
Packer, Robert 1:21-CR-00103-CJN 40 U.S.C. § 75 days’ incarceration 75 days’ incarceration
§104(e)(2)(G) 36 months’ probation $500 restitution

$500 restitution

Williams,
Anthony

1:21-CR-00377-BAH

18 U.S.C. § 1512(c}(2)
40 U.S.C.

§ 5104(e)(2}(D) 40
U.S.C. § 5104(e)(2)(G)
18 U.S.C. § 1752(a)(1)
and (2)

64 month’s incarceration
36 months’ supervised release
$2000 restitution

60 month’s incarceration

36 months’ supervised release
$5000 fine

$2000 restitution

Vincent, Reva

1:22-CR-0005-TNM

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation

60 hours’ community service
$1,500 fine

$500 restitution

Lyon, Robert 1:21-CR-00161-RBW 18 U.S.C. § 1752(a)(2) 3 months’ incarceration 40 days’ incarceration
18 U.S.C. § 641 12 months’ supervised release 12 months’ supervised release
$2,000 restitution $1,000 fine
$2,000 restitution
Ayres, Stephen 1:21-CR-00156-JDB 18 U.S.C. § 1752(a)(2) 60 days’ incarceration 24 months’ probation

12 months’ supervised release
60 hours’ community service
$500 restitution

100 hours’ community service
$500 restitution

Hale-Cusanelli,
Tim

1:21-CR-00037-TNM

18 U.S.C. § 1512(e)(2)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e)(2)(D)

40 U.S.C. §
5104(e)(2)(G)

78 months’ incarceration
36 months’ supervised release
$2,000 restitution

48 months’ incarceration
36 months’ supervised release
$2,000 restitution

| Hamner, Thomas

1:21-CR-00689-ABJ

18 U.S.C. § 231(ay3)

60 months’ incarceration
36 months’ supervised release
$2,000 restitution

30 months’ incarceration

36 months’ supervised release
200 hours’ community service
$2,000 restitution

Santillan, Blas

1:22-CR-00032-F YP

40 U.S.C. §

45 days’ incarceration

45 days’ incarceration

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5104(e)(2)(G)

36 months’ probation
60 hours’ community service
$500 restitution

36 months’ probation
60 hours’ community service
$500 restitution

Neefe, Marshall

1:21-CR-00567-RCL

18 U.S.C. § 1512(k)
18 U.S.C. § 111(a)(1)

46 months’ incarceration
36 months’ supervised release
$2,000 restitution

41 months’ incarceration
36 months’ supervised release
$2,000 restitution

Smith, Charles
Bradford

1:21-CR-00567-RCL

18 U.S.C. § 1512(k)
18 U.S.C. § 111(a)C1) and

(2)

44 months’ incarceration
36 months’ supervised release
$2,000 restitution

41 months’ incarceration
36 months’ supervised release
$2,000 restitution

Brannan, Cory

1:21-CR-00637-TSC

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

30 days’ incarceration
24 months’ supervised release
$500 restitution

Warmus, Daniel

1:21-CR-00417-PLF

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

45 days’ incarceration

24 months’ probation

60 hours’ community service
$500 restitution

Young, Kyle

1:21-CR-00291-ABJ

18 U.S.C. § 111(@ac1)

86 months’ incarceration
36 months’ supervised release
$2,000 restitution

86 months’ incarceration

36 months’ supervised release
100 hours’ community service
$2,000 restitution

Denney, Lucas

1:22-CR-00070-RDM

18 U.S.C. § 111(b)

A term of incarceration in the
middle of the guideline range
36 months’ supervised release

52 months’ incarceration
36 months’ supervised release

Rader, Kenneth 1:22-CR-00057-RCL 40 U.S.C. § 60 days’ incarceration 3 months’ incarceration
5104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Hentschel, Cara | 1:21-CR-00667-FYP 40 U.S.C. § 3 months’ incarceration 36 months’ probation
§104(e)(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Pryer, Mahailya | 1:21-CR-00667-F YP 40 U.S.C. § 60 days’ incarceration 45 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation

60 hours’ community service
$500 restitution

$500 restitution

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Mazzio, Anthony | 1:22-CR-00214-RCL 40 U.S.C. § 60 days’ incarceration 60 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Ferreira, Leticia | 1:22-CR-00210-TSC 40 U.S.C. § 30 days’ incarceration 14 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation

60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Dropkin,
Lawrence

1:21-CR-00734-JEB

18 U.S.C, § 1752(a)(1)
18 U.S.C, § 1752(aX(2)

30 days’ incarceration
36 months’ probation

30 days’ incarceration
12 months’ supervised release

40 U.S.C. § 60 hours’ community service $500 restitution
§104(e}(2)(D) $500 restitution

40 U.S.C. §

5104(e)(2)(G)

Fisher, Samuel

1:21-CR-00142-CJIN

18 U.S.C. § 1752(a)(1)

4 months’ incarceration
12 months’ supervised release
60 hours’ community service

4 months’ incarceration
12 months’ supervised release
60 hours’ community service

$500 restitution $500 restitution
Galloway, 1:22-CR-00012-CRC 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
Andrew 5104(e)(2)(G) 36 months’ probation $1,000 fine

$500 restitution $500 restitution
Munn, Dawn 1:21-CR-00474-BAH 40 U.S.C. § 30 days’ incarceration 36 months’ probation

5104(e)(2)(G)

36 months’ probation
60 hours’ community service
$500 restitution

3 months’ home detention

14 days’ intermittent confinement
60 hours’ community service
$500 restitution

Munn, Joshua

1:21-CR-00474-BAH

40 U.S.C. §
5104(e)(2)(G)

21 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

36 months’ probation
60 hours’ community service
$500 restitution

Munn, Kayli 1:21-CR-00474 - BAH | 40 U.S.C. § 21 days’ incarceration 36 months’ probation
5104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Munn, Kristi 1:21-CR-00474-BAH 40 U.S.C. § 21 days’ incarceration 3 months’ home detention
5104(e)(2)(G) 36 months’ probation 36 months’ probation

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60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Munn, Thomas

1:21-CR-00474-BAH

40 U.S.C. §
5104(e(2)(G)

36 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

36 months’ probation

3 months’ home detention

14 days’ intermittent confinement
60 hours’ community service
$500 restitution

Suleski, Ryan 1:21-CR-00376-RDM 18 U.S.C. § 1752(a})(1) 3 months’ incarceration 60 days’ incarceration
18: U.S.C § 641 12 months’ supervised release | 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Valadez, Rafael 1:21-CR-00695-JEB 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
§104(e}(2)(G) 36 months’ probation $500 restitution

60 hours’ community service
$500 restitution

Ryals, Jerry

1:21-CR-00244-CKK

18 U.S.C. § 231(a)(3)

6 months’ incarceration
36 months’ supervised release
$2,000 restitution

9 months’ incarceration
36 months’ supervised release
$2,000 restitution

Secor, Christian

1:21-CR-00157-TNM

18 U.S.C. § 1512(c}(2)

57 months’ incarceration
36 months’ supervised release
$2,000 restitution

42 months’ incarceration
36 months’ supervised release
$2,000 restitution

Fairchild, Jr.,

1:21-CR-00551-TFH

18 U.S.C. § 231(ay(3)

11 months’ incarceration

6 months’ incarceration

Robert 36 months’ supervised release | 52,000 restitution
$2,000 restitution
Munger, Jeffrey | 1:22-CR-00123-RDM | 40 U.S.C. § 36 months’ probation 30 months’ probation
5104(e}(2)(G) 4 months’ home detention 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Byerly, Alan 1:21-CR-00527-RDM 18 U.S.C. § 11I(ayct) 46 months’ incarceration 34 months’ incarceration
18 U.S.C. § 113(a)(4) 36 months’ supervised release | 36 months supervised release
$2,000 restitution $2,000 restitution
Bledsoe, 1:21-CR-00204-BAH 18 U.S.C. § 1512(c)(2) 70 months’ incarceration 48 months’ incarceration
Matthew 18 U.S.C. § 1752(a)(1) 36 months’ supervised release 36 months’ supervised release
18 U.S.C. § 1752(a)(2) $2,000 restitution $2,000 fine
40 U.S.C, § $2,000 restitution
5104(e)(2)(D)

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40 U.S.C. §
5104(e)(2)(G)

Mazza, Andrew
Mark

1:21-CR-00736-JEB

18 U.S.C. § 111(a)(1) and

(b)
22 D.C. Code § 4504

78 months’ incarceration
36 months’ supervised release
$2,150 restitution

60 months’ incarceration
36 months’ supervised release
$2,000 restitution

Seefried, Hunter

1:21-CR-00287-TNM

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 1752(a\(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e)(2)(D)

40 U.S.C. §
5104(e)(2)(G)

64 months’ incarceration
36 months’ supervised release
$2,000 restitution

24 months’ incarceration
12 months’ supervised release
$2,000 restitution

Rodean, Nicholas

1:21-CR-00057-TNM

18 U.S.C. § 1361

18 U.S.C. § 1752(a)1)
18 U.S.C. § 1752(a)2)
18 U.S.C. § 1752(a)(4)

57 months’ incarceration
36 months’ supervised release
$2,048 restitution

5 years’ probation
240 days’ home detention

40 U.S.C. §

5104{e}(2)(D)

40 U.S.C. § 5104(e)(2)(F)

40 U.S.C. §

5104(e}(2)(G)
Head, 1:21-CR-00291-ABJ 18 U.S.C. § 111 (a)(1) 96 months’ incarceration 90 months’ incarceration
Albuquerque 36 months’ supervised release | 36 months’ supervised release
Cosper $2,000 restitution $2,000 restitution

Priola, Christine

1:22-CR-00242-TSC

18 U.S.C. § 1512(€)\2)

18 months’ incarceration
36 months’ supervised release
$2,000 restitution

15 months’ incarceration
12 months’ supervised release
$2,000 restitution

Mels, James 1:21-CR-00184-BAH 18 U.S.C. § 1752(a)(1) 30 days’ incarceration 36 months’ probation

Allen 12 months’ supervised release | 3 months’ home detention
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution

Clark, Christy 1:21-CR-00218-APM 40 U.S.C. § 4 months’ home detention 24 months’ probation

$104(e)(2)(G) 36 months’ probation 60 hours’ community service

60 hours’ community service $500 restitution
$500 restitution

Clark, Matthew 1:21-CR-00218-APM | 40 U.S.C. § 4 months’ home detention 24 months’ probation

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5104(e)(2)(G)

36 months’ probation
60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Spigelmyer, Paul | 1:21-CR-00218-APM 18 U.S.C. § 5104 14 days’ incarceration 24 months’ probation
(e(2)(G) 36 months’ probation 45 days’ home detention
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Logsdon, }:22-CR-00023-TFH 40 U.S.C. § 30 days’ incarceration 14 days’ intermittent incarceration
Christopher $104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Logsdon, Tina 1:22-CR-00023-TFH 40 U.S.C. § 45 days’ incarceration 14 days’ intermittent incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Uptmore, Chance | 1:21-CR-00149-RCL 40 U.S.C. § 45 days’ incarceration 30 days’ incarceration
5104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Uptmore, James | 1:21-CR-00149-RCL 40 U.S.C. § 21 days’ incarceration 21 days’ home detention
$104(e}(2)(G) 36 months’ probation 36 months’ probation

60 hours’ community service
$500 restitution

$500 restitution

Brooks, James

1:22-CR-00018-JMC

18 U.S.C. § 1752(a)(1)

3 months’ incarceration
12 months’ supervised release
$500 restitution

12 months’ probation
60 hours’ community service
$500 restitution

Rivera, Jesus

1:21-CR-00060-CKK

18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)

9 months’ incarceration
12 months’ supervised release

8 months’ incarceration
12 months’ supervised release

40 U.S.C. § $500 restitution $500 restitution
5104(e)(2)(D)
40 U.S.C. §
5104(e}(2)(G)

Horvath, Jennifer | 1:22-CR-00192-BAH 40 U.S.C. § 60 days’ incarceration 36 months’ probation
5104(e)(2)(G) 36 months’ probation 3 months’ home detention

60 hours’ community service
$500 restitution

$500 restitution

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Faulkner, Troy
Elbert

1:21-CR-00126-BAH

18 U.S.C, § 1361

5 months’ incarceration
36 months’ supervised release
$10,560 restitution

5 months’ incarceration
36 months’ supervised release
$10,560 restitution

Yazdani-Isfehani, | 1:21-CR-00543-CRC 40 U.S.C. § 30 days’ incarceration 14 days’ incarceration
Loammi 5104(e)(2)(G) 36 months’ probation 24 months’ probation
60 hours’ community service 100 hours’ community service
$500 restitution $500 restitution
Yazdani-Isfehani, | 1:21-CR-00543-CRC 40 U.S.C. § 30 days’ incarceration 24 months’ probation
Abigail 5104(e)(2)(G) 36 months’ probation 100 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Yazdani-Isfehani, | 1:21-CR-00543-CRC 40 U.S.C. § 30 days’ incarceration 24 months’ probation
Loruhamah 5104(e)(2)(G) 36 months’ probation 100 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Kelly, Kash Lee | 1:22-CR-00208-JEB 40 U.S.C. § 6 months’ incarceration 60 days’ incarceration
§104(e)(2)(G) $500 restitution $500 restitution
Ashliock, Ryan 1:21-CR-00160-CKK 18 U.S.C. § 1752(a)(1) 135 days’ incarceration 70 days’ incarceration
18 U.S.C. § 12 months’ supervised release 12 months’ supervised release

1752(b)(1)(A)

60 hours’ community service
$500 restitution

100 hours’ community service
$500 restitution

Comeau, Jason 1:21-CR-00629-EGS 40 U.S.C. § | 20 days’ incarceration 12 months’ probation
5104(e)(2)(G) 36 months’ probation 60 days’ home detention
60 hours’ community service 60 hours’ community service
$500 restitution $371 fine
$500 restitution
Schaefer, Jeffrey | 1:22-CR-00069-TFH 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
5104(e)(2)(G) 60 hours’ community service $2,000 fine
$2,000 fine $500 restitution
$500 restitution
Thompson, 1:21-CR-00161-RBW 18 U.S.C. § 1512(c)(2) 70 months’ incarceration 36 months’ incarceration

Dustin

18 U.S.C. § 641

18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e\2)(D)

36 months’ supervised release
$2,000 restitution

36 months’ supervised release
$2,000 fine
$2,000 restitution

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40 U.S.C. §
5104(e)(2)(G)

Evans III, Treniss

1:21-CR-00225-DLF

18 U.S.C, § 1752(a)(1)

60 days’ incarceration
12 months’ supervised release
60 hours’ community service

36 months’ probation
20 days’ intermittent confinement
$5,000 fine

$500 restitution $500 restitution
Castle, Trudy 1:22-CR-0026 1-CRC 40 U.S.C. § 36 months’ probation 36 months’ probation
5104(e)(2)(G) 30 days’ incarceration $2,000 fine
60 hours’ community service $500 restitution
$500 restitution
DiFrancesco, 1:22-CR-00261-CRC 40 U.S.C. § 36 months’ probation 36 months’ probation
Kimberly $104(e)(2)(G) 30 days’ incarceration $2,000 fine
60 hours’ community service $500 restitution
$500 restitution
Hughes, Joshua 1:21-CR-00106-CKK 18 U.S.C. § 1512(c)(2) 46 months’ incarceration 38 months’ incarceration

36 months’ supervised release
$2,000 restitution

36 months’ supervised release
$2,000 restitution

Wood, Matthew

1:21-CR-00223-APM

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 1752(a)(1)

57 months’ incarceration
36 months’ supervised release

12 months’ home detention
36 months’ probation

18 U.S.C. § 1752(a)(2) $2,000 restitution 100 hours’ community service
40 U.S.C. § $2,000 restitution
5104(e)(2)(C)
40 U.S.C. §
$104(e)(2)(D)
40 U.S.C. §
§104(e}(2)(G)
Manwaring, 1:22-CR-00270-CJIN 40 U.S.C. § 45 days’ incarceration 30 days’ incarceration
Landon $104(e)(2)(G) 36 months’ probation 35 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Panayiotou, 1:22-CR-00055-DLF 40 U.S.C. § 45 days’ incarceration 14 days’ intermittent confinement
Marcos §104(e}(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $1,500 fine
$500 restitution
Wiersma, David | 1:21-CR-00592-ABJ 40 U.S.C. § 45 days’ incarceration 18 months’ probation

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5104(e)(2)(G)

36 months’ probation
60 hours’ community service
$500 restitution

$1,500 fine
$500 restitution

Presley, Ronnie

1:21-CR-257-RDM

18 U.S.C. § 231(a\(3)

16 months’ incarceration
12 months’ supervised release
$2,000 restitution

12 months’ incarceration
26 months’ supervised release
$2,000 restitution

Frankowski, 1:21-CR-00592-ABJ 40 U.S.C. § 30 days’ incarceration 18 months’ probation
Dawn 5$104(e)(2)(G) 36 months’ probation 100 hours’ community service
60 hours’ community service $750 fine
$500 restitution $500 restitution
Buxton, Jonas 1:21-CR-00739-JDB 40 U.S.C. § 30 days’ incarceration 18 months’ probation
§104(e)(2)(G) 36 months’ probation 40 hours’ community service
60 hours’ community service $500 fine
$500 restitution $500 restitution
lanni, Suzanne 1:21-CR-00451-CJN 40 U.S.C. § 30 days’ incarceration 15 days’ incarceration
§104(e)(2)(D) 36 months’ probation 30 months’ probation

60 hours’ community service
$500 restitution

60 hours’ community service
$500 restitution

Tenney, George

1:21-CR-00640-TFH

18 U.S.C. § 231(a)(3)
18 U.S.C. § 1512(c)(2)

48 months’ incarceration
36 months’ supervised release
$2,000 restitution

36 months’ incarceration
36 months’ supervised release
$2,000 restitution

Billingsley,
Steven

1:21-CR-00519-TFH

18 U.S.C. § 1752(a)(2)

6 months’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

24 months’ probation
60 hours’ community service
$500 restitution

Cantwell, Lewis
Easton

1:21-CR-00089-EGS

18 U.S.C. § 23 1(a)(3)
18 U.S.C. § 23 1(a}(2)

§ months’ incarceration
Term of supervised release
$2,000 restitution

5 months’ incarceration
36 months’ supervised release
$2,000 restitution

Reid, William

1:21-CR-003 16-DLF

18 U.S.C. § 1512(e)(1)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e)(2)(D) 40 U.S.C.
§ 5104(e)(2)(G)

78 months’ incarceration
36 months’ supervised release
$2,443 restitution

37 months’ incarceration
36 months’ supervised release
$2,443 restitution

Allan, Tommy
Frederick

1:21-CR-00064-CKK

18 U.S.C. § 1512(eX2)
18 U.S.C. § 1512(c)(2)

24 months’ incarceration
36 months’ supervised release

21 months’ incarceration
36 months’ supervised release

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$2,000 restitution $2,000 restitution
Decarlo, 1:21-CR-00073-BAH 18 U.S.C. § 1512(c}(2) 48 months’ incarceration 48 months’ incarceration
Nicholas 36 months’ supervised release | 36 months’ supervised release
$2,000 restitution $2,500 fine
$2,000 restitution
Ochs, Nicholas 1:21-CR-00073-BAH 18 U.S.C. § 1512(c)(2) 51 months’ incarceration 48 months’ incarceration

36 months’ supervised release
$2,000 restitution

36 months’ supervised release
$5,000 fine
$2,000 restitution

Gross, Juliano

1:22-CR-00056-APM

40 U.S.C. §
5104(e}(2)(G)

60 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation

45 days’ home detention

100 hours’ community service
$500 restitution

Sandlin, Ronald | 1:21-CR-00088-DLF 18 U.S.C. § 1512(k) 63 months’ incarceration 63 months’ incarceration
18 U.S.C. § 111 (a1) 36 months’ supervised release | 36 months’ supervised release
18 U.S.C. § 11 1(aX2) $20,000 fine $20,000 fine
$2,000 restitution $2,000 restitution
Fassell, Marilyn | 1:21-CR-00692-CKK 40 US.C. § 60 days’ incarceration 30 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ supervised release
60 hours’ community service $500 restitution
$500 restitution
Fassell, Thomas | 1:21-CR-00692-CKK 40 U.S.C. § 30 days’ incarceration 7 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 24 months’ probation
$500 restitution $500 restitution
Rossman, Devin | 1:22-CR-00280-BAH 40 U.S.C. § 3 months’ incarceration 32 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $2,000 fine
$500 restitution
Lattanzi, 1:22-CR-00028-TSC 40 U.S.C. § 30 days’ incarceration 14 days’ incarceration
Nicholas §104(e)(2)(G) 36 months’ probation $500 fine
$500 restitution $500 restitution
Sargent, Troy 1:21-CR-00258-TFH 18 U.S.C. § 231(a)(3) 27 months’ incarceration 14 months’ incarceration

18 U.S.C. § 11 1(a)(1)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)

36 months’ supervised release
$2,000 restitution

24 months’ supervised release
$500 restitution

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18 U.S.C. § 1752(a)(4)

40 U.S.C. § 5104(e)(2)(F)

Council, 1:21-CR-00207-TNM 18 U.S.C. § 231(ax3) 30 months’ incarceration 60 months’ probation
Matthew 18 U.S.C. § 11 1(a}(1) 36 months’ supervised release | 6 months’ home detention

18 U.S.C. § 1752(a){1) $2,000 restitution 100 hours community service

18 U.S.C, § 1752(a}(2) $2,000 restitution

40 U.S.C. §

5104(e)(2)(D)

40 U.S.C. §

$104(e)(2)(G)
Hendrix, 1:21-CR-00426-CKK 40 U.S.C. 14 days’ incarceration 30 days’ incarceration
Nicholas § 5104(e)(2)(G) 36 months’ probation 36 months’ probation

60 hours’ community service
$500 restitution

Jensen, Douglas

1:21-CR-00006-TJK

18 U.S.C. § 231(aX3)
18 U.S.C. § 1512(c)(2)
18 U.S.C. § 11 1(aX(1)
18 U.S.C. § 1752(a)(1)
and (b){1)({A)

18 U.S.C. § 1752(a)(2)
and (b)(1)(A)

40 U.S.C. §
5104(e)(2)(D)

40 U.S.C. §
5104(e2)(G)

64 months’ incarceration
36 months’ supervised release
$2,000 restitution

60 months’ incarceration
36 months’ supervised release
$2,000 restitution

Johnston, David

1:22-CR-00182-BAH

40 U.S.C. §
5104(e\(2)(G)

42 days’ incarceration
36 months’ probation
$500 restitution

21 days’ intermittent incarceration
3 months’ home detention

36 months’ probation

$2,500 fine

$500 restitution

Capsel, Matthew

1:22-CR-00107-TSC

18 U.S.C. § 231(a)(3)

31! months’ incarceration
36 months’ supervised release
$2,000 restitution

18 months’ incarceration
24 months’ supervised release
$2,000 restitution

Brodnax,
Antionne

1:21-CR-00350-DLF

18 U.S.C. § 1752(a)C1)
18 U.S.C, § 1752(a}(2)
40 U.S.C. §

18 months’ incarceration
12 months’ supervised release
$500 restitution

5 months’ incarceration
12 months’ supervised release
$500 restitution

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5104(e)(2)(D)
40 U.S.C. §
5104(e)(2)(E)
Johnson Jr, 1:22-CR-00228-JDB 40 U.S.C. § 45 days’ incarceration 60 days’ home detention
Thaddis $104(e}(2)(G) 36 months’ probation 24 months’ probation
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Grayson, 1:21-CR-00224-TSC_ 18 U.S.C. § 231(a}(3) 3 months’ incarceration 60 days’ incarceration
Kenneth 36 months’ supervised release | 24 months’ supervised release
$2,000 restitution $2,000 restitution
McCormick, 1:21-CR-00710-TSC 18 U.S.C. § 1752(a}(1) 21 days’ incarceration 14 days’ incarceration
Michael G 36 months’ probation $1,000 fine
$500 restitution $500 restitution
Bronsburg, 1:21-CR-00144-RBW | 40 U.S.C. § 30 days’ incarceration 20 days’ incarceration
Tammy 5104(e)(2)(G) 36 months’ probation 24 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Bond, Stacy Lee | 1:22-CR-00171-JMC 40 U.S.C. § 45 days’ incarceration 20 days’ home detention
$104(e)(2)(G) 36 months’ probation 18 months’ probation
60 hours’ community service 50 hours’ community service
$500 restitution $500 restitution
Conlon, Paula 1:22-CR-00171-JMC 40 U.S.C. § 60 days’ incarceration 12 months’ probation
5104(e)(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Hughes, Jerod 1:21-CR-00106-TJK 18 U.S.C. § 1512(c)(2) 51 months’ incarceration 46 months’ incarceration
36 months’ supervised release | 36 months’ supervised release
$2,000 restitution $2,000 restitution
Holdridge, Brent | 1:21-CR-00729-RBW | 40 U.S.C. § 60 days’ incarceration 60 days’ incarceration
§104(e)(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Gionet, Anthime | 1:22-CR-00132-TNM 40 U.S.C. 5104(e)(2)(G) | 75 days’ incarceration 60 days’ incarceration
36 months’ probation 24 months’ probation
60 hours’ community service $2,000 fine

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$500 restitution

$500 restitution

Mandy

5104(e)(2)(G)

36 months’ probation
60 hours community service
$500 restitution

Witzemann, 1:21-CR-003 14-TFH 40 U.S.C. § 30 days’ incarceration 24 months’ probation
| Shawn 5104(e)(2)(G) 36 months’ probation 7 days’ incarceration
60 hours’ community service 60 hours’ community service
$500 restitution $500 restitution
Hand, Charles IIT | 1:22-CR-111-JEB 40 US.C. § 30 days’ incarceration 20 days’ incarceration
5104(e}(2)(G) 36 months’ probation 6 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Robinson-Hand, | 1:22-CR-111-JEB 40 U.S.C. § 45 days’ incarceration 20 days’ incarceration

6 months’ probation
$500 restitution

Clifton, 1:22-CR-00182-BAH 40 U.S.C. § 21 days’ incarceration 21 days’ intermittent confinement
Chadwick 5104(e)(2)(G) 36 months’ probation 36 months’ probation
Gordon $500 restitution 90 days’ home confinement
$500 restitution
Slaeker, Tyler 1:21-CR-00604-DLF 18 U.S.C. § 1752(a)(1) 3 months’ incarceration 30 days’ home detention

12 months’ supervised release
60 hours’ community service
$500 restitution

36 months’ probation
240 hours’ community service
$500 restitution

Herrera, Erik

1:21-CR-619-BAH

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 1752(a)(1)
18 U.S.C, § 1752(a)(2)

78 months’ incarceration
36 months’ supervised release
$2,000 restitution

48 months’ incarceration
36 months’ supervised release
$1,000 restitution

40 U.S.C. §
5104(e)(2)(D)
40 ULS.C. §
5104(e}(2)(G)
Montalvo, 1:22-CR-00146-RDM_ | 40 U.S.C. § 30 days’ incarceration 36 months’ probation
Matthew 5104(e)(2)(G) 36 months’ probation 3 months’ home detention
60 hours’ community service $5,000 fine
$500 restitution $500 restitution
Gable, Levi 1:22-CR-00189-JMC 18 U.S.C, § 1752(a)(1) 3 months’ incarceration 24 months’ probation

12 months’ supervised release
60 hours’ community service

45 days’ home detention
50 hours’ community service

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$500 restitution

$1,000 fine
$25 restitution

Faulkner, Luke

1:21-CR-00725-RDM

40 U.S.C. §
5104(e)(2)(G)

14 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation

30 days’ home detention

60 hours’ community service
$500 restitution

Andries, John

1:21-CR-00093-RC

18 U.S.C. § 1512(c)(2)

24 months’ incarceration
36 months’ supervised release
$2,000 restitution

12 months’ and | day incarceration
36 months’ supervised release
$2,000 restitution

Rahm, James Jr

1:21-CR-00150-TFH

18 U.S.C. § 1512(c)2)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e\(2)(D)

40 U.S.C. §
5104(e}(2)(G)

21 months’ incarceration
36 months’ supervised release
$2,000 restitution

12 months’ incarceration
36 months’ supervised release
$2,000 restitution

McGrew, James

1:21-CR-00398-BAH

18 U.S.C. § LIM(ayc)

78 months’ incarceration
36 months’ supervised release
$2,000 restitution

78 months’ incarceration

36 months’ supervised release
$5,000 fine

$2,000 restitution

Baugh, Roger
Kent

1:22-CR-313-JEB

18 U.S.C. § 231(a)(3)

11 months’ incarceration
36 months’ supervised release
$2,000 restitution

12 months’ and | day incarceration
24 months’ supervised release
$2,000 restitution

Garcia, Jacob 1:22-CR-00118-DLF 40 U.S.C. § 60 days’ incarceration 30 days’ intermittent confinement
5104(e)(2)(G) 36 months’ probation 24 months’ probation
60 hours’ community service $500 restitution
$500 restitution
Moat, Anthony 1:21-CR-375 - TSC 40 U.S.C. § 21 days’ incarceration 10 days’ incarceration
Richard §104(e)(2)(D) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Hernandez, 1:21-CR-00445-CKK 18 U.S.C. § 1512(c)(2) 18 months’ incarceration 18 months’ incarceration

Andrew Alan

36 months’ supervised release
$2,000 restitution

36 months’ supervised release
$2,000 restitution

Young, Philip

1:21-CR-617-DLF

18 U.S.C. § I 1(ay(1)
18 U.S.C. § 231(a)(3)

40 months’ incarceration
36 months’ supervised release

8 months’ incarceration
36 months’ supervised release

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18 U.S.C. § 1752(a)(2)
18 U.S.C. § 1752(a)(4)
40 US.C. §
5§104(e)(2)(D)

40 U.S.C. § 5104(e)(2)(F)

$2,000 restitution

$2,000 restitution

Khater, Julian
Elie

1:21-CR-00222-TFH

18 U.S.C. § 111(a)(1) and
(b)

90 months’ incarceration
36 months’ supervised release
$2,000 restitution

80 months’ incarceration

24 months’ supervised release
$10,000 fine

$2,000 restitution

Tanios, George

1:21-CR-00222-TFH

18 U.S.C. § 1752(a)(1)
and (b){2)
18 U.S.C. § 1752(a)(2)
and (b)(2)

5 months and 6 days’
incarceration

12 months’ supervised release
250 hours’ community service

5 months and 6 days’ incarceration
12 months’ supervised release
$500 restitution

$500 restitution
Caldwell, Daniel { 1:21-CR-00181-CKK 18 U.S.C. § 111(a)(1) and | 70 months’ incarceration 68 months’ incarceration
(b) 36 months’ supervised release | 36 months’ supervised release
$2,000 restitution $2,000 restitution
Moynihan, 1:21-CR-00226-CRC 18 U.S.C. § 1512(c)(2) 37 months’ incarceration 21 months’ incarceration
Christopher 18 U.S.C. § 1752(a)(1) 36 months’ supervised release 36 months’ supervised release
18 U.S.C. § 1752(a)(2) $2,000 restitution $2,000 restitution
40 U.S.C. §
5104(e)(2)(A)
40 U.S.C. §
5104(e}(2)(D)
40 U.S.C. §
$104(e)(2)(G)
Hernandez, 1:22-CR-00042-CRC 18 U.S.C. § 231(a)(3) 30 months’ incarceration 24 months’ incarceration
Joshua 18 U.S.C. § 111(acl) 36 months’ supervised release 36 months’ supervised release

$2,000 restitution

$2,000 restitution

Alford, Russell

1:21-CR-00263-TSC

18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e)(2)(D)

40 U.S.C. §
5104(e)(2)(G)

13 months’ incarceration
12 months’ supervised release
$500 restitution

12 months’ incarceration
12 months’ supervised release
$500 restitution

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Haynes, Joshua

1:21-CR-00594-TSC

18 U.S.C. § 1512
18 U.S.C. § 1363

36 months’ incarceration
36 months’ supervised release
$2,000 restitution

32 months’ incarceration
36 months’ supervised release
$2,000 restitution

Javid, Iraj 1:22-CR-00077-BAH 40 U.S.C. § 21 days’ incarceration 24 months’ probation
5104(e)(2)(G) 36 months’ probation 3 months’ home detention
60 hours’ community service $500 restitution
$500 restitution
Lammons, John 1:22-CR-00103-RCL 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
5104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Uberto, Thomas | 1:22-CR-00007-TSC 40 U.S.C. § 14 days’ incarceration 10 days’ incarceration
5104(e)(2)(G) $500 restitution $500 restitution
Lanham, Melanie | 1:22-CR-00102-JDB 40 U.S.C. § 30 days’ incarceration 18 months’ probation
5104(e})(2)(G) 36 months’ probation 50 hours’ community service

60 hours’ community service
$500 restitution

$500 restitution

Seefried, Kevin

1:21-CR-00287-TNM

18 U.S.C. § 1512(c)(2)
18 U.S.C. § 1752(a)(1)
18 U.S.C. § 1752(a)(2)
40 U.S.C. §
5104(e)(2)(D)

40 U.S.C. §
5104(e)(2)(G)

70 months’ incarceration
36 months’ supervised release
$2,000 restitution

36 months’ incarceration
12 months’ supervised release
$2,000 restitution

Gleffe, Marcos

1:21-CR-00698-F YP

40 U.S.C. §
5104(e)(2)(G)

45 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

60 days’ home detention

36 months’ probation

60 hours’ community service
$500 restitution

Jersey, Justin

1:21-CR-00035-EGS

18 U.S.C. § 111(b)

63 months’ incarceration
36 months’ supervised release
$2,000 restitution

51 months’ incarceration
36 months’ supervised release
$32,265.65 restitution

Heathcote, Chad | 1:22-CR-00232-CJN 40 U.S.C. § 30 days’ incarceration 15 days’ home detention
5104(e)(2)(G) 36 months’ probation 36 months’ probation
$500 restitution $500 restitution
Finley, Jeffrey 1:21-CR-00526-TSC 18 U.S.C. § 1752(a)(1) 90 days’ incarceration 75 days’ incarceration

12 months’ supervised release
60 hours’ community service

12 months’ supervised release
60 hours’ community service

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$500 restitution

$500 restitution

Manwaring, 1:22-CR-00307-CJIN 40 U.S.C. § 14 days’ incarceration 36 months’ probation
Susan 5104(e)(2)(G) 36 months’ probation 30 days’ home detention
$500 restitution $500 restitution
Baouche, Jeremy | 1:21-CR-00733-CRC 40 U.S.C. § 30 days’ incarceration 30 days’ incarceration
5104(e)(2)(G) 36 months’ probation 24 months’ supervised release

60 hours’ community service
$500 restitution

$500 restitution

Horning, James

1:21-CR-00275-ABJ

18 U.S.C. § 1752(a)(1)

60 days’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

30 days’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

Bustos, Alexis 1:22-CR-00016-CJN 40 U.S.C. § 14 days’ incarceration 24 months’ probation
5104(e)(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Bustos, Bryan 1:22-CR-00016-CJN 40 U.S.C. § 14 days’ incarceration 24 months’ probation
5104(e)(2)(G) 36 months’ probation $500 restitution
60 hours’ community service
$500 restitution
Myers, Rachel 1:22-CR-00074-JMC 40 U.S.C. § 14 days’ incarceration 24 months’ probation
$104(e)(2)(G) 36 months’ probation 60 hours’ community service
60 hours’ community service $500 restitution
$500 restitution
Hubbard, Jeffrey | 1:21-CR-00737-CJN 40 U.S.C. § 45 days’ incarceration 45 days’ incarceration
William 5104(e}(2)(G) 36 months’ probation 36 months’ probation
60 hours’ community service $500 fine
$500 restitution $500 restitution
Dickinson, 1:21-CR-00649-JDB 18 U.S.C. § 11 1(a}(1) 27 months’ incarceration 20 months’ incarceration
Michael 36 months’ supervised release | 36 months’ supervised release

$2,000 restitution

$2,000 restitution

Grover, Logan

1:21-CR-00374-APM

40 U.S.C. §
5104(e)(2)(G)

45 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

24 months’ probation
30 days’ home incarceration

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Sulenta, Derek

1:22-CR-00340-TSC

40 U.S.C. § 5104
(e(2G)

21 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

14 days’ incarceration
60 hours’ community service
$500 restitution

Miller, Garret

1:21-CR-00119-CJIN

18 U.S.C. § 23 1(a}(3);
18 U.S.C. § LI1(a(1);
18 U.S.C. § 875(c);

18 U.S.C. § 1752(a)(1);
18 U.S.C. § 1752(a)(2);
18 U.S.C. § 1752(a)(3);
40 U.S.C.
§5104(e)(2)(D);

40 U.S.C.
§5104(e)(2)(E);

40 U.S.C.
§5104(e)(2)(G);

18 U.S.C. § 231(a)(3)

48 months’ incarceration
36 months’ supervised release
$2,000 restitution

38 months’ incarceration
36 months’ supervised release

Cramer, Country

1:22-CR-00339-RDM

40 U.S.C. §
5104(e)(2)(G)

7 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

48 months’ probation

45 days home detention

60 hours’ community service
$500 restitution

Cramer, Eric

1:22-CR-00339-RDM

18 U.S.C. § 1752(a)(2)

30 days’ incarceration
36 months’ probation
60 hours’ community service

8 months’ incarceration

12 months’ supervised release
60 hours’ community service
$500 restitution

Gordon, Vaughn

1:22-CR-00099-PLF

40 U.S.C. §
5104(e)(2)(G)

30 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

36 months’ probation

3 months’ home detention
90 hours’ community service
$500 restitution

Mehaffie, David

1:21-CR-00040-TNM

18 U.S.C. § 111(a)(1)
and 2;

18 U.S.C. § 231(a)(3);
40 U.S.C. §
5104(e€)(2)(D), 2;

40 U.S.C. §
5104(e)(2)(F), 18:2

64 months’ incarceration
36 months’ supervised release
$2000 restitution

14 months’ incarceration
24 months’ supervised release

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Judd, David Lee | 1:21-CR-00040-TNM 18 U.S.C. § L11(ac) 90 months’ incarceration 32 months’ incarceration
and (b); 36 months’ supervised release | 24 months’ supervised release
18 U.S.C. § 1512(c)(2) $2,000 restitution $2,000 restitution
and (2)
Wright, John 1:21-CR-00341-CKK 18 U.S.C. § 1512(c)(2) 60 months’ incarceration 49 months’ incarceration
Douglas and 2 36 months’ supervised release | 36 months’ supervised release
$2,000 restitution $2,000 restitution
Ashcraft, Neil 1:22-CR-00295-CKK 18 U.S.C. § 641 90 days’ incarceration 80 days’ incarceration
18 U.S.C. § 1752(a)(1) 36 months’ supervised release 36 months’ supervised release
$2,000 restitution $2,000 restitution
Eckerman, 1:21-CR-00623-CRC 18 U.S.C. § 111 (ay) 24 months’ incarceration 20 months’ incarceration
Michael 36 months’ supervised release | 24 months’ supervised release

$2,000 restitution

$2,000 restitution

Watson, William

1:21-CR-00513-RBW

18 U.S.C. § 231(a)(3);
18 U.S.C. § 1752(a),
(b)(1)(A);

40 U.S.C. § 5104(e)(2)

46 months’ incarceration
36 months’ supervised release
$12,000 restitution

36 months incarceration
36 months’ probation
$12,000 restitution

Gerwatowski,
Eric

1:22-CR-00125-JMC

18 U.S.C. 231(a)(3)

3 months’ incarceration
36 months’ supervised release
$2,000 restitution

24 months’ probation

30 days’ home detention

60 hours’ community service
$2,000 restitution

Stevens, Tristian

1:21-CR-00040-TNM

18 U.S.C. § 111d)
and 2

18 U.S.C. § 23 1(a)(3)
40 U.S.C. §
§104(e}(2)(D), 2

40 U.S.C. §
§104(e}(2)(F), 18:2

18 U.S.C. § 11 1(aj(1)
18 U.S.C. § 1752(a)(2)
18 U.S.C. § 1752(a)(4)

78 months’ incarceration
36 months’ supervised release
$2,000 restitution

60 months’ incarceration
24 months’ supervised release
$2,000 restitution

Ambrose, 1:22-CR-00302-DLF 40 U.S.C. 5104(eX2)(G) | 21 days’ incarceration 36 months’ probation
Lawrence 60 hours’ community service $500 restitution

$500 restitution
Gordon, John 1:22-CR-00343-RC 18 U.S.C. 231(a)(3) 18 months’ incarceration 6 months’ incarceration

36 months’ supervised release

24 months’ supervised release

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$2,000 restitution $2,000 restitution
Tilley, Todd 1:23-CR-00038-TNM 18 U.S.C. § 1752(a)(1); 14 days’ incarceration 48 months’ probation
18 U.S.C. § 1752(a)(2); 60 hours’ community service 60 hours’ community service
40 U.S.C. § $500 restitution $500 restitution
5104(e)(2)(D);
40 U.S.C. §
5104(e}(2)(G)
Irizarry, Elias 1:21-CR-00282-TSC 18 U.S.C. 1752(a}(1) 45 days’ incarceration 14 days’ incarceration

60 hours’ community service
$500 restitution

$500 restitution

Egtvedt, Daniel

1:21-CR-00177-CRC

18 U.S.C. § 11 1(a)(1);

18 U.S.C. § 231(a)(3);

18 U.S.C. § 1512(c)(2) &
(2);

18 U.S.C. § 1752(a)(1),
(2)

40 U.S.C. §
5104(e)(2\(D)

64 months’ incarceration
36 months’ supervised release
$2,000 restitution

42 months’ incarceration
36 months’ supervised release
$2,000 restitution

Gardner, Mitchell

1:21-CR-00622-APM

18 U.S.C. § 231(a)(3);

18 U.S.C. § 1512(c)(2)
and 2;

18 U.S.C. § 111(a)(1) and
(b);

71 months’ incarceration
36 months’ supervised release
$3,500 restitution

55 months’ incarceration
36 months’ supervised release
$3,500 restitution

Bilyard, Aiden
Henry

1;:22-CR-000034-RBW

18 U.S.C. § 11 1(a)(1) and
(b)

47 months’ incarceration
36 months’ supervised release
$3,500 restitution

40 months’ incarceration
36 months’ supervised release
$3,500 restitution

Brock, Larry

1:21-CR-00140-JDB

18 U.S.C. § 1512(c)(2)
and 2;

18 U.S.C. § 1752(a}(1);
18 U.S.C. § 1752(a)(2);
40 U.S.C. §
5104(e)(2)(A);

40 U.S.C. §
5104(e)(2)(D);

40 U.S.C. §
5104(e)(2)(G);

60 months’ incarceration
36 months’ supervised release
$2,000 restitution

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Shaw, Daniel

1:22-CR-000001-JEB

40 U.S.C. §
5104(e)(2)(G);

30 days’ incarceration
60 hours’ community service
$500 restitution

10 days’ incarceration
24 months’ probation
$500 restitution

Sills, Geoffrey
William

1:21-CR-00040-TNM

18 U.S.C. § 2111 and 2;
18 U.S.C. § 111(a)(1) and
(b);

18 U.S.C. § 1512(c)(2)
and 2

108 months’ incarceration
36 months’ supervised release
$2,000 restitution

52 months’ incarceration
36 months’ supervised release
$2,000 restitution

Shough, Geoffrey

1:22-CR-00197-DLF

18 U.S.C. § 231(a}(3)

11 months’ incarceration
36 months’ supervised release
$2,000 restitution

6 months’ incarceration

12 months’ supervised release
200 hours’ community service
$2,000 restitution

Miller, Adam

1:22-CR-00191-RCL

18 U.S.C. § 1752(a)(1);
40 ULS.C. §
5104(e)(2)(G)

21 days’ incarceration

36 months’ probation

60 hours’ community service
$500 restitution

30 days’ incarceration
36 months’ probation
$500 restitution

Steiner, Devin

1:22-CR-00191-RCL

18 U.S.C. § 1752(a)(1);
40 U.S.C. §

30 days’ incarceration
36 months’ probation

30 days’ incarceration

36 months’ probation

5104(e}(2)(G) 60 hours’ community service $500 restitution
$500 restitution
Dressel, Joshua 1:21-CR-000572-RDM | 40 U.S.C. § 45 days’ incarceration 14 days’ incarceration
5104(e}(2)(G) 36 months’ probation $500 restitution

60 hours’ community service
$500 restitution

Williams, Riley

1:21-CR-000618-ABJ

18 U.S.C. § 231(a}(3);
18 U.S.C. § 111(a}(1);
18 U.S.C. § 1752(a)(1);
18 U.S.C. § 1752(a)(2);
40 U.S.C. §
5104(e)(2)(D);

40 U.S.C. §
5104(e)(2)(G);

87 months’ incarceration
36 months’ supervised release
$3,039 restitution

36 months’ incarceration
36 months’ supervised release
$2,000 restitution

Puma, Anthony

1:21-CR-00454-PLF

18 U.S.C. § 1512(c\{2)
and 2

18 months’ incarceration
36 months’ supervised release
$2,000 restitution

9 months’ incarceration
24 months’ supervised release
$2,000 restitution

Montoya, Samuel

1:21-CR-00336-JDB

40 U.S.C. §

45 days’ incarceration

36 months’ probation

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5104(e)(2)(G)

36 months’ supervised release
60 hours’ community service

60 hours’ community service
120 days’ home detention
$500 restitution

53

$500 restitution

